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            EXHIBIT B
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From:            Goldstein, Kevin B.
To:              rbonsignore@classactions.us; Joseph M. Alioto
Cc:              Kessler, Jeffrey; *erik.koons@bakerbotts.com; Cole, Eva; David L. Yohai (david.yohai@weil.com); Olsen,
                 Matthew; fwhitaker@classactions.us; "neimer@eimerstahl.com"; Jacobsen, Vanessa G.; bchang@eimerstahl.com
Subject:         RE: CRT - Letter re MA ORS Motion to Amend & Proposed Complaint
Date:            Wednesday, November 30, 2022 5:46:44 PM
Attachments:     2022.11.30 Ltr from J. Kessler.pdf
                 Proposed Motion for Sanctions.pdf
                 Ex. A - 2022.10.10 K. Goldstein Email and Attachments.pdf




Dear Robert and Joseph,



Please see the attached letter and proposed motion.



Best regards,

Kevin


Kevin B. Goldstein
Winston & Strawn LLP
35 W. Wacker Drive
Chicago, IL 60601-9703
D: +1 312-558-5869
M: +1 847-571-7766
F: +1 312-558-5700
kbgoldstein@winston.com
winston.com




From: Goldstein, Kevin B. <KBGoldstein@winston.com>
Sent: Tuesday, October 18, 2022 7:08 PM
To: Joseph M. Alioto <jmalioto@aliotolaw.com>
Cc: Kessler, Jeffrey <JKessler@winston.com>; *erik.koons@bakerbotts.com
<erik.koons@bakerbotts.com>; Cole, Eva <EWCole@winston.com>; David L. Yohai
(david.yohai@weil.com) <david.yohai@weil.com>; Olsen, Matthew <MOlsen@winston.com>;
fwhitaker@classactions.us; rbonsignore@classactions.us
Subject: Re: CRT - Letter re MA ORS Motion to Amend & Proposed Complaint

Great, that works. I will send you an invite with a Teams dial-in. If anyone else on your side will be
joining, please forward to them.

Best,
        Case 4:07-cv-05944-JST Document 6126-3 Filed 12/22/22 Page 3 of 71


Kevin

From: Joseph M. Alioto <jmalioto@aliotolaw.com>
Sent: Tuesday, October 18, 2022 7:02:17 PM
To: Goldstein, Kevin B. <KBGoldstein@winston.com>
Cc: Kessler, Jeffrey <JKessler@winston.com>; *erik.koons@bakerbotts.com
<erik.koons@bakerbotts.com>; Cole, Eva <EWCole@winston.com>; David L. Yohai
(david.yohai@weil.com) <david.yohai@weil.com>; Olsen, Matthew <MOlsen@winston.com>;
fwhitaker@classactions.us <fwhitaker@classactions.us>; rbonsignore@classactions.us
<rbonsignore@classactions.us>
Subject: Re: CRT - Letter re MA ORS Motion to Amend & Proposed Complaint


Hi Kevin,



Okay, let's try for 2:00 PM, Pacific Time.



Thank you,



Joseph M. Alioto
ALIOTO LAW FIRM
One Sansome Street
35th Floor
San Francisco, CA 94104
Tel: 415.434.8900
Email: jmalioto@aliotolaw.com * Web: aliotolaw.com

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From: Goldstein, Kevin B. <KBGoldstein@winston.com>
Sent: Tuesday, October 18, 2022 4:24 PM
To: Joseph M. Alioto
Cc: Kessler, Jeffrey; *erik.koons@bakerbotts.com; Cole, Eva; David L. Yohai (david.yohai@weil.com);
Olsen, Matthew; fwhitaker@classactions.us; rbonsignore@classactions.us
Subject: RE: CRT - Letter re MA ORS Motion to Amend & Proposed Complaint
        Case 4:07-cv-05944-JST Document 6126-3 Filed 12/22/22 Page 4 of 71




Joe – 2:30 pm PT was the end-time in our proposed windows below. Is there a time within
those windows that works?



Best,

Kevin




From: Joseph M. Alioto <jmalioto@aliotolaw.com>
Sent: Tuesday, October 18, 2022 6:16 PM
To: Goldstein, Kevin B. <KBGoldstein@winston.com>
Cc: Kessler, Jeffrey <JKessler@winston.com>; *erik.koons@bakerbotts.com
<erik.koons@bakerbotts.com>; Cole, Eva <EWCole@winston.com>; David L. Yohai
(david.yohai@weil.com) <david.yohai@weil.com>; Olsen, Matthew
<MOlsen@winston.com>; fwhitaker@classactions.us; rbonsignore@classactions.us
Subject: Re: CRT - Letter re MA ORS Motion to Amend & Proposed Complaint



Hi Kevin,



Thursday at 2:30 PM Pacific time would also work. Would you please circulate a conference
call number?



Best regards,



Joseph M. Alioto
ALIOTO LAW FIRM
One Sansome Street
35th Floor
San Francisco, CA 94104
Tel: 415.434.8900
Email: jmalioto@aliotolaw.com * Web: aliotolaw.com

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From: Goldstein, Kevin B. <KBGoldstein@winston.com>
Sent: Tuesday, October 18, 2022 3:41:31 PM
To: Joseph M. Alioto
Cc: Kessler, Jeffrey; *erik.koons@bakerbotts.com; Cole, Eva; David L. Yohai
(david.yohai@weil.com); Olsen, Matthew; fwhitaker@classactions.us;
rbonsignore@classactions.us
Subject: RE: CRT - Letter re MA ORS Motion to Amend & Proposed Complaint



Joe,



Thanks for the response. Assuming you are proposing Pacific time, I unfortunately have a
conflict then. However, Erik and I are available Thursday from 8:00am-12:30 pm or 1:30-
2:30 pm PT (11:00am-3:30pm or 4:30-5:30 pm ET). Is there a time in those windows that
works for you?



Best,

Kevin




From: Joseph M. Alioto <jmalioto@aliotolaw.com>
Sent: Tuesday, October 18, 2022 5:24 PM
To: Goldstein, Kevin B. <KBGoldstein@winston.com>
Cc: Kessler, Jeffrey <JKessler@winston.com>; *erik.koons@bakerbotts.com
<erik.koons@bakerbotts.com>; Cole, Eva <EWCole@winston.com>; David L. Yohai
(david.yohai@weil.com) <david.yohai@weil.com>; Olsen, Matthew
<MOlsen@winston.com>; fwhitaker@classactions.us; rbonsignore@classactions.us
Subject: Re: CRT - Letter re MA ORS Motion to Amend & Proposed Complaint



Hi Kevin,



I am available Thursday October 20, 2022, at 3:00 p.m.



Please let me know if this works with your schedule.
       Case 4:07-cv-05944-JST Document 6126-3 Filed 12/22/22 Page 6 of 71




Thank you,



Joseph M. Alioto
ALIOTO LAW FIRM
One Sansome Street
35th Floor
San Francisco, CA 94104
Tel: 415.434.8900
Email: jmalioto@aliotolaw.com * Web: aliotolaw.com

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From: Goldstein, Kevin B. <KBGoldstein@winston.com>
Sent: Monday, October 17, 2022 11:25:16 AM
To: Joseph M. Alioto
Cc: Kessler, Jeffrey; *erik.koons@bakerbotts.com; Cole, Eva; David L. Yohai
(david.yohai@weil.com); Olsen, Matthew; fwhitaker@classactions.us;
rbonsignore@classactions.us
Subject: RE: CRT - Letter re MA ORS Motion to Amend & Proposed Complaint



Joe,



Thank you for reaching out to us in response to Panasonic’s and Philips’s letter of October 10.
I write to memorialize the takeaways from last week’s phone conversation between you, me,
and Erik Koons. You represented that you had not been actively following the CRT matter for
several years, but are now seriously investigating the case history and law addressed in our
letter, and you requested additional time to do so. You agreed that you would discuss with
Mr. Bonsignore and give us a definitive answer by October 20 as to whether you will continue
to pursue the Massachusetts ORS motion to amend and your proposed complaint (ECF Nos.
6072, 6072-5) and, if you decide to withdraw, you will take concrete action by October 20 to
do so. In exchange for your promises to investigate and take action by October 20, we agreed
that we would not serve you with a Rule 11 motion prior to that date.



Please let us know some times on the 20th that you are available for a call. A call may end up
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unnecessary, however we would like to set a placeholder in case there is a need to discuss or
clarify anything. We look forward to hearing from you by the 20th and hope you will decide
to withdraw the motion, so that there is no need for us to move forward under Rule 11.



Sincerely,

Kevin




From: Goldstein, Kevin B.
Sent: Monday, October 10, 2022 6:03 PM
To: rbonsignore@classactions.us; jmalioto@aliotolaw.com
Cc: Kessler, Jeffrey <JKessler@winston.com>; *erik.koons@bakerbotts.com
<erik.koons@bakerbotts.com>; Cole, Eva <EWCole@winston.com>; David L. Yohai
(david.yohai@weil.com) <david.yohai@weil.com>; Olsen, Matthew
<MOlsen@winston.com>; fwhitaker@classactions.us
Subject: CRT - Letter re MA ORS Motion to Amend & Proposed Complaint



Dear Robert and Joseph,



Please see the attached letter.



Best regards,

Kevin



Kevin B. Goldstein
Winston & Strawn LLP
35 W. Wacker Drive
Chicago, IL 60601-9703
D: +1 312-558-5869
M: +1 847-571-7766
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kbgoldstein@winston.com
winston.com
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 1   JEFFREY L. KESSLER (pro hac vice)
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 3   KEVIN B. GOLDSTEIN (pro hac vice)
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 4   WINSTON & STRAWN LLP
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 5   New York, NY 10166

 6   Telephone:    (212) 294-6700
     Facsimile:    (212) 294-4700
 7
     Attorneys for Intervenors-Proposed Defendants
 8   Panasonic Corporation, Panasonic Corporation of
     North America, and MT Picture Display Co., Ltd
 9
     Additional Counsel Listed on Signature Page
10

11
                              UNITED STATES DISTRICT COURT
12                          NORTHERN DISTRICT OF CALIFORNIA
                                   OAKLAND DIVISION
13

14
                                                   Case No.: 07-cv-05944-JST
15    IN RE: CATHODE RAY TUBE (CRT)
      ANTITRUST LITIGATION                         MDL No. 1917
16

17                                                 MOTION FOR SANCTIONS PURSUANT TO
      This document relates to:
      All Indirect Purchaser Actions               FED. R. CIV. P. 11 AND 28 U.S.C. § 1927
18
                                                   Date: ______
19                                                 Time: ______
                                                   Place: Courtroom 6, 2nd Floor
20

21

22

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     Motion for Sanctions                                           Case No.: 4:07-cv-05944-JST
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 1                      NOTICE OF MOTION AND MOTION FOR SANCTIONS
                        PURSUANT TO FED. R. CIV. P. 11 AND 28 U.S.C. § 1927
 2

 3   TO ALL PARTIES AND THEIR ATTORNEYS:

 4          PLEASE TAKE NOTICE that on ____ at ____, or the earliest date allowed by this Court,

 5   before the Honorable Judge Jon. S. Tigar, United States District Court for the Northern District of

 6   California, the undersigned movants (“Proposed Defendants”), by and through their counsel, will

 7   request that the Court order sanctions against attorneys Robert J. Bonsignore and Joseph M. Alioto

 8   (collectively, “Massachusetts Counsel”), pursuant to Rule 11 of the Federal Rules of Civil

 9   Procedure and 28 U.S.C. § 1927, in connection with their September 16, 2022 submission of a

10   Motion to Amend Complaint or Otherwise Pursue Pending Claims, ECF No. 6072 (“Motion to

11   Amend”) and proposed Indirect Purchasers Plaintiffs’ Fifth Amended Complaint, ECF No. 6072-

12   5 (“Proposed Complaint”).

13          Proposed Defendants request that the sanctions include denial of the Motion to Amend, an

14   award of fees and costs incurred as a result of the Motion to Amend, an award of fees and costs

15   incurred for the instant motion for sanctions, and such other relief as the Court deems proper to

16   deter repetition of the conduct or comparable conduct by others similarly situated. The full amount

17   of fees and costs incurred by Proposed Defendants as a result of attorneys Massachusetts Counsel’s

18   ongoing sanctionable conduct is not yet known; should the Court determine that a fee award is

19   appropriate, Proposed Defendants request 14 days following entry of the Court’s order to submit

20   a fee accounting with supporting declarations and materials. A proposed order is attached as

21   Exhibit 2.

22          Prior to filing this motion, moving counsel contacted Messrs. Bonsignore and Alioto in an

23   effort to resolve these issues and, pursuant to Rule 11(c)(2), served them with a copy of this motion

24   and memorandum of law more than 21 days prior to filing this motion with the Court. Messrs.

25   Bonsignore and Alioto have not withdrawn their Motion to Amend or Proposed Complaint.

26

27

28

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 1                       MEMORANDUM OF POINTS AND AUTHORITIES

 2   I.     PRELIMINARY STATEMENT

 3          The undersigned Proposed Defendants seek sanctions against attorneys Robert J.

 4   Bonsignore and Joseph M. Alioto (collectively, “Massachusetts Counsel”) for filing their baseless

 5   Motion to Amend Complaint or Otherwise Pursue Pending Claims attaching a proposed Indirect

 6   Purchasers Plaintiffs’ Fifth Amended Complaint. ECF Nos. 6072 (the “Motion to Amend”), 6072-

 7   5 (the “Proposed Complaint”).

 8          Since 2008, Massachusetts Counsel have represented Anthony Gianasca and Barbara

 9   Caldwell, two individuals who attempted to assert class-action claims in this matter on behalf of

10   Massachusetts IPPs. All of those claims were dismissed or abandoned by 2010. Over the next

11   several years, the IPP litigation continued on with no Massachusetts plaintiffs and no

12   Massachusetts law claims, although Massachusetts Counsel continued to represent other IPP

13   clients pursuing other claims, and the Proposed Defendants eventually reached settlements with

14   all those IPPs with pending claims.

15          Beginning in 2019, Mr. Bonsignore, who was soon joined by Mr. Alioto, filed a series of

16   motions to intervene and amend prior complaints in an attempt to reassert the long-abandoned

17   Massachusetts IPP class claims on behalf of Gianasca and Caldwell, along with multiple other

18   motions and settlement objections under varied legal theories. This Court denied all of those

19   motions and ultimately entered a final judgment of dismissal with prejudice as to Panasonic,

20   Philips, Hitachi, Samsung, Thomson, and Toshiba defendant groups in July 2020. As to the LGE

21   defendants, the Court had already approved their settlement with IPPs that included a release of

22   all Massachusetts IPP claims and dismissed LGE defendants with prejudice in 2014, long before

23   Massachusetts Counsel began their efforts to reassert Massachusetts IPP claims.

24          In response to this Court’s denial of their many motions, Massachusetts Counsel

25   unsuccessfully pursued all available appeals, including multiple appeals to the Ninth Circuit and

26   an unsuccessful certiorari petition to the Supreme Court. All of this Court’s rulings rejecting their

27   attempts to reassert long-abandoned Massachusetts IPP claims have been sustained and the final

28   judgments in this matter are fully final. As the Ninth Circuit unequivocally ruled, “[t]here is no

                                                      1
     Motion for Sanctions                                                 Case No.: 4:07-cv-05944-JST
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 1   longer an action against Defendants into which the ORS and NRS appellants can intervene.” No.

 2   20-15697, 2021 WL 4306895, at *2 (9th Cir. Sept. 22, 2021). And indeed, there are no claims by

 3   IPPs or any other plaintiffs still pending in this MDL against the moving Proposed Defendants.

 4             Now, post-final judgment, Massachusetts Counsel have filed yet another attempt to

 5   resurrect Gianasca and Caldwell’s long-abandoned Massachusetts claims via their Motion to

 6   Amend and Proposed Complaint, re-raising arguments that they have already asserted

 7   unsuccessfully. With this Motion to Amend, Massachusetts Counsel have crossed the line into

 8   sanctionable conduct violative of Rule 11 and 28 U.S.C. § 1927.

 9             First, Massachusetts Counsel have knowingly contravened multiple orders of this Court

10   and the Ninth Circuit on motions and appeals that they previously filed—and lost—attempting to

11   assert the same claims on behalf of the same movants. Massachusetts Counsel cannot claim any

12   objectively reasonable basis to believe that their post-judgment Motion to Amend will now

13   succeed where their many prior motions failed, and the Ninth Circuit has already ruled that there

14   is no pending action against the Proposed Defendants. The Motion to Amend further violates the

15   Court’s directive that Massachusetts Counsel must file a new action if their clients wish to pursue

16   claims. And the proposed “Indirect Purchasers Plaintiffs’ Fifth Amended Complaint,” on its face,

17   violates the Court’s order that Massachusetts Counsel may not “amend someone else’s complaint.”

18             Second, Massachusetts Counsel’s attempt to now reassert their clients’ claims post-

19   judgment in the IPP action against Proposed Defendants and twelve years after those claims were

20   abandoned is objectively unjustifiable. These claims are time barred. At this point, there is no

21   longer any good-faith basis to argue that the relation-back doctrine can resurrect these claims and

22   the Motion to Amend does not seriously argue otherwise, devoting just a single sentence to the

23   point.

24             Third, without any valid legal or factual basis, the Proposed Complaint seeks to reassert

25   claims against LGE entities that were released in settlement, certain Panasonic and Philips

26   subsidiaries that were granted summary judgment in their favor, and certain Panasonic entities that

27   were long-ago dissolved. Most of these entities were omitted as defendants in the most recent

28   ORS proposed complaint (ECF No. 5645-1) in apparent recognition of the legal and factual record,

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 1   but now—without any explanation or argument—Massachusetts Counsel seek to lodge new claims

 2   against these former defendant entities.

 3           The Proposed Defendants have already spent many years and millions in legal fees

 4   defending successfully against Massachusetts Counsel’s many attempts to reassert new

 5   Massachusetts IPP claims. Massachusetts Counsel and their clients have been heard, and they

 6   have lost. The new post-judgment Motion to Amend raises no new issues, has no objective

 7   justification, and needlessly and vexatiously multiplies proceedings that have formally concluded.

 8   Massachusetts Counsel should be sanctioned both to compensate Proposed Defendants for the

 9   needless expenses inflicted by the Motion to Amend and to deter Massachusetts Counsel (and

10   others who may be waiting in the wings) from pursuing further baseless efforts to amend

11   complaints post-judgment.

12   II.     STATEMENT OF FACTS AND BACKGROUND

13           A.      Massachusetts Counsel Represent Caldwell and Gianasca Beginning in 2008

14           Massachusetts Counsel have represented their current clients, Caldwell and Gianasca, since

15   the incipiency of this MDL. Mr. Alioto has served as Caldwell’s counsel since, at the latest, March

16   2008. See ECF No. 144 (filing by Joseph Alioto listing Alioto Law Firm as counsel for Caldwell).

17   Likewise, Mr. Bonsignore has served as Gianasca’s counsel since March 2008 when his claims

18   were first brought in the action captioned Brigid Terry, et al. v. LG Elecs., Inc., et al., No. 08-1559,

19   which was later transferred to this MDL. See ECF No. 6072-2, at 35.

20           B.      Caldwell and Gianasca Abandon Their Claims by 2010

21           In March 2009, the IPPs filed a Consolidated Amended Complaint (“CAC”), signed by

22   Mr. Bonsignore. ECF No. 437. Caldwell served as a named plaintiff and asserted Massachusetts

23   state-law claims on behalf of IPPs in Massachusetts; Gianasca was not named as a plaintiff. CAC

24   ¶¶ 277, 286. In February 2010, the Court dismissed Caldwell’s Massachusetts statutory claim in

25   light of the CAC’s failure to plead compliance with a statutory thirty-day pre-filing notice

26   requirement with leave to amend. ECF No. 665, at 24, 25; ECF No. 597, at 29–30.

27           In May 2010, the IPPs filed a Second Consolidated Amended Complaint (“2AC”), again

28   signed by Mr. Bonsignore, that re-asserted Caldwell’s Massachusetts claims. ECF No. 716. Yet

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 1   again, Gianasca was not a named plaintiff.            In September 2010, Special Master Legge

 2   recommended the dismissal of the Massachusetts claims with prejudice. ECF No. 768, at 8, 12–

 3   14. As to the Massachusetts consumer protection claim, Special Master Legge found that plaintiffs

 4   had “not complied with the 30 day pre-filing notice requirement,” given that notice was mailed

 5   “only three days before the SCAC was filed.” Id. at 13 (emphasis in original). The Special Master

 6   concluded that dismissal with prejudice was required because “[t]he objectives of the

 7   Massachusetts’ statute would not be accomplished if a plaintiff could fail to comply, but could

 8   cure that failure by sending a late notice and then re-filing the same complaint.” Id. The Special

 9   Master further determined that Caldwell’s other Massachusetts claims must be dismissed with

10   prejudice because Massachusetts bars indirect purchasers from seeking damages for alleged price

11   fixing. Id. at 8.

12           In October 2010, pursuant to a stipulation, ECF No. 799 (the “2010 Stipulation”), the Court

13   accepted the Special Master’s recommendation to dismiss Caldwell’s Massachusetts consumer

14   protection and unjust enrichment claims with prejudice. The IPPs subsequently filed a Third and

15   Fourth Consolidated Amended Complaint, respectively filed in December 2010 and January 2013,

16   both of which Mr. Bonsignore signed. ECF Nos. 827, 1526. Neither complaint asserted damages

17   claims on behalf of IPPs in Massachusetts or named either Caldwell or Gianasca as plaintiffs. Id.

18           In May 2019, Mr. Bonsignore filed a motion to vacate the 2010 Stipulation on behalf of

19   Gianasca arguing that, although IPP Lead Counsel could stipulate on behalf of the individual

20   plaintiffs whom he represented, he lacked authority prior to class certification to stipulate on behalf

21   of absent class members like Gianasca. ECF No. 5469, at 5–6, 10–11. Caldwell, however, was

22   an individual plaintiff at the time of the 2010 Stipulation and did not join in the motion to vacate.

23   The Court vacated the 2010 Stipulation, agreeing that it could not bind absent class members. ECF

24   No. 5499, at 17; ECF No. 5518.

25           C.      The IPP Litigation Continues Without Massachusetts Claims, and
                     Defendants Settle
26
             In 2013, the LGE defendant group entered into a settlement with all IPPs, including
27
     Massachusetts; final approval of the settlement was granted in April 2014. ECF Nos. 1933-1;
28

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 1   2542. The Court’s order granting final settlement approval released LGE from the claims of “[a]ll

 2   persons and or entities who or which indirectly purchased in the United States for their own use

 3   and not for resale, CRT Products,” with the exception solely of claimants from Illinois, Oregon,

 4   and Washington (whose state attorneys general requested exclusion). ECF No. 2542 ¶ 3. The

 5   Court concurrently entered final judgment of dismissal with prejudice in LGE’s favor. ECF No.

 6   2543. There were no objectors to the settlement, and neither the order granting final settlement

 7   approval nor the order granting final judgment were appealed. Those orders have been fully final

 8   for over eight years.

 9          In 2015, the Panasonic, Philips, Hitachi, Samsung, Toshiba, and Thomson defendant

10   groups each entered into settlements with the IPPs. See ECF No. 3862. Mr. Bonsignore raised

11   objections to these settlements on behalf of Gianasca on the grounds that Massachusetts claims

12   were covered within the scope of the releases, but the allocation plan proposed by IPP Lead

13   Counsel did not provide a recovery to Massachusetts purchasers. ECF No. 4119. The Court

14   ultimately agreed that Massachusetts claims should not be released without compensation. ECF

15   No. 5362. In response to that order, the settling defendants and IPPs renegotiated their settlements

16   to narrow the releases to claims under twenty-two states’ laws that did not include Massachusetts.

17   See ECF No. 5587. Those amended settlements were ultimately approved and are fully final. ECF

18   No. 5804.

19          While the MDL was still ongoing as to the Proposed Defendants, the Court also resolved

20   multiple summary judgment motions in favor of defendants. Among them, the Court granted

21   summary judgment to Panasonic Corporation of North America (“PNA”) and dismissed all claims

22   against it on the basis that—after full discovery—there was no evidence that PNA ever participated

23   in the alleged CRT conspiracy. ECF No. 5119, at 10-11. The Court also found that the Philips

24   Subsidiaries 1 withdrew from the alleged conspiracy in June 2001 and granted partial judgment in

25   their favor. ECF No. 4786.

26
     1 The “Philips Subsidiaries” are Philips Electronics North America Corporation (n/k/a Philips
27
     North America LLC), Philips Electronics Industries (Taiwan), Ltd. (n/k/a Philips Taiwan Limited),
28   and Philips da Amazonia Industria Electronica Ltda. (n/k/a Philips do Brasil, Ltda).

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 1          D.      Massachusetts Counsel Attempt to Reassert Caldwell and Gianasca’s Claims
                    Beginning in 2019, and the Court Denies Their Motions
 2
                    1.      This Court Rules that Gianasca Cannot Amend the IPP Complaint
 3
            In June 2019, over eleven years after he filed the initial (and now superseded) Terry
 4
     complaint, Mr. Bonsignore served a “statutory pre-suit demand” on behalf of Gianasca on certain
 5
     Panasonic, Philips, Hitachi, Samsung SDI, and Toshiba entities, stating that he intended to initiate
 6
     claims against them under Massachusetts law. ECF No. 5567-4.
 7
            In August 2019, Mr. Bonsignore filed a motion to intervene and amend on behalf of
 8
     Gianasca, seeking to amend the IPPs’ Fifth Consolidated Amended Complaint. The proposed
 9
     amended complaint asserted, inter alia, Massachusetts state-law claims on behalf of IPPs in
10
     Massachusetts. ECF No. 5567; ECF No. 5590-2 ¶¶ 55, 270–71, 319. Five days later, Mr.
11
     Bonsignore filed a superseding proposed amended complaint that removed two Panasonic entities
12
     (PNA and MT Picture Display Co. Ltd. (“MTPD”)) and two Samsung entities from the list of
13
     defendants, in apparent response to communications from defense counsel concerning the
14
     impropriety of asserting claims against those entities. See ECF No. 5570-2, at 18, 24-25.
15
            In October 2019, the Court denied the motion to intervene and amend without prejudice to
16
     filing a renewed motion accompanied by a separate complaint-in-intervention. ECF No. 5628. In
17
     so doing, the Court held that it was improper to amend “someone else’s complaint” and Gianasca
18
     was “not allowed” to amend the IPPs’ Fifth Consolidated Amended Complaint. Id. at 3.
19
                    2.      This Court Rules that Massachusetts Counsel’s Clients Can Only
20                          Assert Their Claims by Filing New Actions

21          In November 2019, Mr. Bonsignore filed a renewed motion to intervene, now on behalf of

22   Gianasca and Caldwell, for the purpose of filing a severed complaint in the master file of this MDL

23   proceeding that would assert, inter alia, Massachusetts state-law claims on behalf of IPPs in

24   Massachusetts. ECF No. 5645; ECF No. 5642-2 ¶¶ 22, 25, 245–46, 265.

25          In February 2020, the Court denied the renewed motion to intervene, holding that 28 U.S.C.

26   § 1407 does not permit the filing of new complaints directly into the master file of an MDL

27   proceeding. ECF No. 5684. The Court ordered that “[m]ovants may file their claims in the

28   appropriate forum(s) and seek transfer from the JPML or, if properly filed in the Northern District

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 1   of California, ‘request assignment of [their] actions to the Section 1407 transferee judge in

 2   accordance with applicable local rules.’” Id. at 6 (quoting J.P.M.L. R. 7.2(a)).

 3                  3.      This Court Rejects Massachusetts Counsel’s Request for
                            Reconsideration and Argument that Terry Could Be Amended
 4
            Later in February 2020, Mr. Bonsignore, now joined by Mr. Alioto, filed a motion on
 5
     behalf of Gianasca (but not Caldwell) seeking reconsideration of the Court’s order denying the
 6
     renewed motion to intervene. ECF No. 5688. In their motion, Massachusetts Counsel argued that
 7
     there were multiple pre-MDL complaints on file that “could be amended” by Gianasca and other
 8
     ORS, specifically identifying Terry as such a complaint. Id. at 2 n.1.
 9
            In opposition, Defendants showed that the pre-MDL complaints were superseded by the
10
     consolidated IPP complaints and, regardless, Massachusetts Counsel and their clients failed to
11
     raise the prospect of amending the Terry complaint in either of their motions to amend and could
12
     not raise the argument for the first time on reconsideration. ECF No. 5690, at 7–9. The Court
13
     denied the motion for reconsideration in April 2020 and held that reconsideration was not available
14
     to “raise arguments for the first time which could reasonably have been raised earlier in the
15
     litigation” or to “rehash arguments previously presented.” ECF No. 5708, at 3–5.
16
            E.      The Ninth Circuit Dismisses Caldwell and Gianasca’s Appeal Because There
17                  Is No Remaining Action into Which They Could Intervene

18          In June 2020, Massachusetts Counsel filed on behalf of Caldwell and Gianasca a notice of

19   appeal from the October 2019 order denying intervention and amendment, the February 2020 order

20   denying the renewed request for intervention, and the April 2020 order denying reconsideration.

21   ECF No. 5733. On appeal, Massachusetts Counsel again argued that the pre-MDL actions,

22   including the Terry action, remained “pending” and were appropriate vehicles for their clients to

23   intervene and amend. See No. 20-16081 (9th Cir. Sept. 8, 2020), ECF No. 13, at 16, 29–30.

24          Defendants demonstrated in response that Caldwell and Gianasca had not preserved any

25   argument concerning their prior roles as named plaintiffs and, by litigating motions to dismiss and

26   to amend directed at the consolidated IPP complaints, the parties and this Court correctly treated

27   the consolidated IPP complaints as operative and superseding pre-MDL complaints. See Br. for

28   Defs.-Appellees, No. 20-15697 (9th Cir. Nov. 9, 2020), ECF No. 50, at 47-49 & n.24 (citing In re

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 1   Refrigerant Compressors Antitrust Litig., 731 F.3d 586, 590 (6th Cir. 2013)). As such, claims and

 2   previously-named plaintiffs that were omitted from the consolidated amended complaints had been

 3   voluntarily dismissed. Id. at 49 (citing Lacey v. Maricopa Cnty., 693 F.3d 896, 928 (9th Cir. 2012)

 4   (en banc)). Defendants likewise showed that Gianasca had tacitly acknowledged that the Terry

 5   action was no longer pending when, in June 2019, he purported to provide the statutorily required

 6   notice of his intention to initiate Massachusetts state-law claims. Id. at 49.

 7          The Ninth Circuit dismissed the intervention-related appeals as moot in September 2021,

 8   because it affirmed the July 2020 final judgment that effectuated the amended settlements between

 9   IPPs and the Panasonic, Philips, Hitachi, Samsung SDI, Toshiba, and Thomson defendant groups.

10   No. 20-15697, 2021 WL 4306895 (9th Cir. Sept. 22, 2021). As the Ninth Circuit explained: “The

11   approved amended settlements release Defendants from the suit at issue. There is no longer an

12   action into which the ORS and NRS can intervene.” Id. at *2 (emphasis added).

13          Next, Mr. Bonsignore petitioned the U.S. Supreme Court to review the Ninth Circuit’s

14   decision on behalf of other ORS clients (but not Caldwell or Gianasca). In June 2022, the Supreme

15   Court denied certiorari. Ayres v. Indirect Purchaser Plaintiffs, 142 S. Ct. 2813 (2022).

16          F.      Massachusetts Counsel File the Current Improper Motion to Amend

17          On September 16, 2022, Massachusetts Counsel filed the Motion to Amend on behalf of

18   Caldwell and Gianasca, accompanied by their Proposed Complaint. ECF Nos. 6072; 6072-5.

19   Notwithstanding this Court and the Ninth Circuit’s orders, the Motion to Amend yet again claimed

20   that the Terry action, and the Massachusetts state-law claims asserted therein, remained pending,

21   and warranted leave to amend either the Terry complaint or the IPPs’ operative complaint. Id.

22          The Motion to Amend suffered from myriad procedural and substantive deficiencies,

23   described in detail in the Proposed Defendants’ opposition briefs (ECF Nos. 6084-1; 6092-1), that

24   a reasonable pre-filing investigation into the relevant law and facts would have uncovered. First,

25   despite this Court’s entry of a final judgment with dismissal, the Motion to Amend improperly

26   sought relief pursuant to Rule 15, without movants first seeking to clear the substantial hurdle of

27   reopening the Court’s final judgment under Rule 60. ECF No. 5804; Fed. R. Civ. P. 15, 60.

28   Second, the relief requested by the Motion to Amend is barred by the law of the case doctrine and

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 1   rule of mandate: Massachusetts Counsel had previously raised the same arguments on behalf of

 2   the same clients, and had been denied the same relief in both this Court and the Ninth Circuit.

 3   Third, the Proposed Complaint named as proposed defendants: LGE entities that already settled

 4   all Massachusetts IPP claims; Panasonic Subsidiaries 2 that won summary judgment or no longer

 5   exist; and Philips Subsidiaries that won summary judgment on the basis of withdrawal.

 6          G.      Massachusetts Counsel Are Unwilling to Correct Their Errors

 7          Proposed Defendants have made multiple attempts to resolve these issues with

 8   Massachusetts Counsel prior to bringing this motion for sanctions, but Massachusetts Counsel

 9   have neither withdrawn nor revised the Motion to Amend and Proposed Complaint. On September

10   19, 2022, LGE counsel contacted Massachusetts Counsel to remind them that LGE settled the

11   Massachusetts claims finally in 2013 and that Caldwell and Gianasca had released their claims in

12   said settlement. ECF No. 6092-3. Massachusetts Counsel responded that they would “file a

13   revised amended complaint” removing the named LGE entities, but have yet to do so. Id. On

14   October 10, 2022, Panasonic and Philips counsel wrote to Massachusetts Counsel to notify them

15   of infirmities in the Motion to Amend and Proposed Complaint, request that they withdraw the

16   filing, and advise them that defense counsel would prepare and serve a motion for sanctions if the

17   Motion to Amend was not withdrawn. See Ex. 1, Declaration of Kevin B. Goldstein (“Goldstein

18   Decl.”), Ex. A. On October 20, 2022, Mr. Alioto spoke with Panasonic and Philips counsel and

19   informed them that Massachusetts Counsel were not withdrawing their filings. On November 29,

20   2022, movants served a pre-filing copy of this motion on Massachusetts Counsel pursuant to Rule

21   11(c)(2). See Goldstein Decl. Ex. B.

22

23

24
     2 The improperly named Panasonic entities alleged are at least PNA and MTPD. It is unclear if
25   the Proposed Complaint also intended to name Matsushita Electronic Corporation (Malaysia) Sdn
     Bhd. (“Matsushita Malaysia”) as a proposed defendant. Compare ECF No. 6072-5 ¶ 51 (not
26   labeling Matsushita Malaysia as a “defendant” and acknowledging its closure in 2006) with ¶ 52
     (including Matsushita Malaysia in the list of defendants). However, Massachusetts Counsel have
27
     not offered any clarification in response to Panasonic counsel’s communications. Collectively,
28   PNA, MTPD, and Matsushita Malaysia are referred to herein as the “Panasonic Subsidiaries.”

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 1   III.    ARGUMENT

 2           A.     Legal Standard

 3           “[T]o deter baseless filings in District Court[,]” Rule 11 “imposes a duty on attorneys to

 4   certify that they have conducted a reasonable inquiry and have determined that any papers filed

 5   with the court are well-grounded in fact, legally tenable, and not … [presented] for any improper

 6   purpose.” Cooter & Gell v. Hartmarx Corp., 496 U.S. 384, 393 (1990) (internal quotation marks

 7   and citation omitted); Fed. R. Civ. P. 11(b). The central purpose of this mandate is to “reduce

 8   frivolous claims, defenses or motions and to deter costly meritless maneuvers, thereby avoiding

 9   delay and unnecessary expense in litigation.” Christian v. Mattel, Inc., 286 F.3d 1118, 1127 (9th

10   Cir. 2002) (internal marks and citation omitted). Rule 11 consequently imposes on attorneys the

11   obligation to conduct an objectively reasonable inquiry into the facts and law to make sure that a

12   motion or pleading is well-founded. See Christian, 286 F.3d at 1127.

13           In assessing whether an attorney has satisfied his or her Rule 11 obligations, a court must

14   determine whether the attorney conducted a reasonable and competent inquiry before filing the

15   complaint. See Id. “The test for whether Rule 11 is violated does not require a finding of subjective

16   bad faith by the attorney. . . .” Kaufman v. Int’l Long Shore & Warehouse Union, No. 16-cv-03386-

17   JST, 2017 WL 3335760, at *5 (N.D. Cal. Aug. 4, 2017) (Tigar, J.) (awarding sanctions against pro

18   se plaintiff who filed a second complaint nearly identical to a previous complaint against the same

19   defendants that had been dismissed with prejudice) (quotation omitted)); accord Zaldivar v. City

20   of Los Angeles, 780 F.2d 823, 830-31 (9th Cir. 1986) (“A good faith belief in the merit of a legal

21   argument is an objective condition which a competent attorney attains only after ‘reasonable

22   inquiry.’”), overruled on other grounds by Cooter & Gell v. Hartmarx Corp., 496 U.S. 384 (1990);

23   Giovanni v. Sea-Land Serv., Inc., No. 95-cv-4259-NMC, 1997 WL 227897, at *9 (N.D. Cal. Apr.

24   28, 1997), aff’d, 145 F.3d 1337 (9th Cir. 1998) (“A finding of bad faith is not required to impose

25   Rule 11 sanctions.”). Rule 11 likewise requires that “factual contentions have evidentiary support”

26   prior to the filing of any papers. Fed. R. Civ. P. 11; see also Truesdell v. S. Cal. Permanente Med.

27   Grp., 209 F.R.D. 169, 174-75 (C.D. Cal. 2002) (Under Rule 11, “the question is whether, at the

28

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 1   time the paper was presented to the Court . . . it lacked evidentiary support or contained ‘frivolous’

 2   legal arguments.”).

 3          Courts may impose sanctions under Rule 11 against the offending party or its counsel.3

 4   See Fed. R. Civ. P. 11(c)(1). Rule 11 sanctions should be granted to the extent “necessary to deter

 5   repetition of such conduct”: such sanctions can include monetary awards for attorneys’ fees and

 6   expenses incurred by the moving party as a result of the violation; penalties paid to the court; or

 7   non-monetary remedies, including striking the offending allegations or dismissing the complaint

 8   in its entirety. See Fed. R. Civ. P. 11(c)(2); Combs v. Rockwell Int’l Corp., 927 F.2d 486, 488 (9th

 9   Cir. 1991) (affirming dismissal of the complaint with prejudice as a sanction under Rule 11 and

10   the District Court’s inherent powers); Mellow v. Sacramento Cnty., 365 F. App’x 57, 58 (9th Cir.

11   2010) (affirming dismissal of complaint as a Rule 11 sanction and noting district court’s wide

12   discretion to sanction); see also Fed. R. Civ. P. 11, Advisory Committee Notes to the 1993

13   Amendment (noting that the limitations on sanctions under Rule 11(c)(3) do not limit the court’s

14   power to impose non-monetary sanctions “such as dismissal of a claim, preclusion of a defense,

15   or preparation of amended pleadings”).

16          Section 1927 provides that an attorney “who so multiplies the proceedings in any case

17   unreasonably and vexatiously may be required by the court to satisfy personally the excess costs,

18   expenses and attorneys' fees reasonably incurred because of such conduct.” 28 U.S.C. § 1927.

19   “Section 1927 imposes a continuing duty on counsel to dismiss claims that are no longer viable.”

20   Burda v. M. Eker Co., 2 F.3d 769, 778 (7th Cir. 1993); accord Trulis v. Barton, 107 F.3d 685, 692

21   (9th Cir. 1996) (holding that a district court abused its discretion by refusing to impose sanctions

22   under Section 1927 where the plaintiff “vexatiously multiplied the proceedings” by continuing its

23   suit after it was clearly precluded by prior court orders). Unreasonable and vexatious conduct may

24   be premised on “a showing of recklessness or bad faith.” Song v. Drenberg, No. 18-cv-06283-

25   LHK, 2021 WL 4846779, at *2 (N.D. Cal. Oct. 18, 2021). Such a showing is made where the

26   moving party demonstrates that “an attorney knowingly or recklessly raises a frivolous argument.”

27   3The Proposed Defendants believe it is appropriate to sanction Massachusetts Counsel here, as all
28   indications show that they steer litigation decisions rather than their individual clients.

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 1   Edgerly v. City & Cnty. of San Francisco, No. 03-cv-02169-WHA, 2005 WL 235710, at *3 (N.D.

 2   Cal. Feb. 1, 2005) (quoting Estate of Blas v. Winkler, 792 F.2d 858, 860 (9th Cir. 1986)).

 3          B.      Massachusetts Counsel Should be Sanctioned for Defiance of Final Orders
                    Barring Their Requested Relief
 4
            By virtue of arguing that their clients are entitled to either amend the Terry complaint or
 5
     the IPPs’ operative complaint in the Motion to Amend, Massachusetts Counsel knowingly violated
 6
     multiple orders by this Court and the Ninth Circuit that conclusively determined that such
 7
     amendment is improper. Massachusetts Counsel’s efforts to relitigate issues that are final and no
 8
     longer subject to appeal are clearly barred both by the law of the case doctrine and rule of mandate,
 9
     and merit sanctions.
10
            The law of the case doctrine “precludes reconsideration of ‘an issue that has already been
11
     decided by the same court, or a higher court in the identical case.’” Rocky Mtn. Farmers Union v.
12
     Corey, 913 F.3d 940, 951 (9th Cir. 2019) (quoting United States v. Alexander, 106 F.3d 874, 876
13
     (9th Cir. 1997)). The doctrine encompasses issues decided “explicitly or by necessary implication”
14
     by a district court or Court of Appeals. Id. A separate, but related, doctrine designed to promote
15
     “finality and efficiency” is the rule of mandate, which bars the relitigation of final determinations
16
     upon remand “unless the [circuit court] mandate allowed it.” United States v. Thrasher, 483 F.3d
17
     977, 982 (9th Cir. 2007) (internal quotations omitted).
18
            Where a party breaches these doctrines by improperly seeking to relitigate previously-
19
     decided issues, sanctions are warranted. In re Flashcom, Inc., 647 F. App’x 689, 693 (9th Cir.
20
     2016) (noting that the Ninth Circuit has “frequently upheld sanctions for filing motions that
21
     duplicate one that was previously denied” and affirming sanctions issued for plaintiffs’ violation
22
     the law of the case doctrine). Indeed, Rule 11 sanctions are justified when an attorney “fail[s] to
23
     acknowledge prior adverse rulings.” Kwok v. Recontrust Co., N.A., No. 2:09-cv-2298-RLH, 2010
24
     WL 4810704, at *3-4 (D. Nev. Nov. 19, 2010) (awarding Rule 11 sanctions against counsel who
25
     filed motion repeating previously rejected argument). This is plainly the case here.
26
            First, the Motion to Amend disregards multiple court orders and seeks to relitigate
27
     arguments that Massachusetts Counsel and their clients have already lost in claiming that the
28

                                                      12
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 1   amendment of the 2008 Terry complaint is proper. After their first two attempts to intervene and

 2   file an amended complaint were denied, the Court ordered that, if Massachusetts Counsel’s clients

 3   wish to file renewed claims, they must “file their claims in the appropriate forums” and then seek

 4   either transfer or assignment to the MDL. ECF No. 5684 at 6. Massachusetts Counsel then sought

 5   reconsideration of that order and raised their argument that the Terry complaint could have been

 6   amended on behalf of Gianasca. ECF No. 5688 at 2 n.1. This Court declined to consider the

 7   argument as it was improperly raised for the first time in the context of a motion to reconsider and

 8   denied the motion. ECF No. 5708. In doing so, this Court reiterated its earlier mandate that

 9   Massachusetts Counsel’s clients must “file their claims in the appropriate forums” and then seek

10   either transfer or assignment to the MDL. Id. at 2.

11          Massachusetts Counsel again lodged this argument unsuccessfully upon appeal, claiming

12   intervention and amendment was appropriate in light of the “critical fact” that the Terry and

13   Caldwell actions remained “pending.” The Proposed Defendants demonstrated in response, as

14   they had before the District Court, that the IPP consolidated amended complaints—which were

15   litigated throughout the MDL as the operative pleadings—fully superseded Terry and the various

16   other pre-MDL IPP complaints. See ECF No. 6084, at 12 (summarizing prior briefing); see also

17   Bell v. Publix Super Mkts., Inc., 982 F.3d 468, 489-90 (7th Cir. 2020) (holding that plaintiffs “give

18   up the separate identities of [their] original suits transferred to the MDL litigation” where they

19   treat a consolidated amended complaint as operative, which “prevent[s plaintiffs] from springing

20   traps by treating a consolidated complaint as the real complaint in the district court but then

21   denying its importance and effect once a party tries to appeal”). The Ninth Circuit agreed and

22   rejected Gianasca and Caldwell’s argument to the contrary, ruling: “There is no longer an action

23   against Defendants into which the ORS and NRS appellants can intervene.” No. 20-15697,

24   2021 WL 4306895, at *2 (9th Cir. Sept. 22, 2021) (emphasis added), cert. denied sub nom. Ayres

25   v. Indirect Purchaser Plaintiffs, 142 S. Ct. 2813 (2022). Massachusetts Counsel cannot now

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 1   relitigate these adverse, final decisions, nor claim any nonfrivolous basis for attempting again to

 2   file an amended complaint in an action that is no longer pending. 4

 3          Second, on its face, the Proposed Complaint once again proposes to do exactly what the

 4   Court has already ruled is prohibited: to amend the IPPs’ complaint. See ECF No. 5628, at 3. The

 5   Proposed Complaint is titled “Indirect Purchasers Plaintiffs’ Fifth Amended Complaint.” ECF No.

 6   6072-5. 5 The caption includes only the master file number and MDL number, and states: “This

 7   document relates to: ALL INDIRECT PURCHASER ACTIONS.” Id. (emphasis in original).

 8          Having been unsuccessfully appealed to the Supreme Court, both this Court’s and the Ninth

 9   Circuit’s decisions are final, binding, and dispositive of Massachusetts Counsel’s argument that

10   either the Terry complaint or the IPPs’ complaint can be amended by Gianasca and Caldwell.

11   Their reassertion of arguments barred by the law of the case and rule of mandate lacks any

12   reasonable basis and warrants sanctions. See In re Flashcom, 647 F. App’x at 693 (upholding Rule

13   11 sanctions for filing motion contrary to law of the case and collecting Ninth Circuit cases

14   upholding sanctions “for filing motions that duplicate one that was previously denied.”).

15          C.      Massachusetts Counsel Should be Sanctioned for Pursuing Grossly Untimely
                    Claims
16
            Massachusetts Counsel are pursuing claims that are plainly untimely. Gianasca’s and
17
     Caldwell’s Massachusetts claims were all dismissed or abandoned by 2010, and the four-year
18
     statute of limitations expired long ago.
19

20
     4In reply to the Proposed Defendants’ opposition to the Motion to Amend, Massachusetts Counsel
21
     shift their argument and ask the Court to construe their motion as one to reopen the final judgment
22   under Rule 60 so that it can be amended. ECF No. 6095, at 2. This late invocation of Rule 60
     does nothing to change the basis for sanctions. Although Massachusetts Counsel now at least
23   acknowledge that there is a final judgment in this matter dismissing all IPP claims against the
     Proposed Defendants, the Massachusetts ORS still have no reasonable basis in law to argue for
24   reopening the judgment here. See ECF No. 6097 (Proposed Defs.’ Reply ISO Intervention).
     Moreover, the Motion to Amend presents no argument for reopening the judgment and remains
25
     improper at the time it was signed and filed with the Court.
26   5Massachusetts Counsel’s lack of reasonable diligence is also reflected in their apparent failure to
     recognize that IPPs already filed a fifth amended complaint in 2019 (ECF No. 5589) such that,
27
     even if they could amend the IPPs’ complaint (which they cannot), it would now be the sixth
28   amended complaint.

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 1          Massachusetts Counsel have long acknowledged the facial untimeliness of their claims and

 2   the sole argument in the Motion to Amend as to why the claims are not now time-barred and futile

 3   consists of a single sentence invoking the relation-back doctrine. ECF No. 6072, at 12. However,

 4   the fact that the relation-back doctrine exists does not mean that all motions invoking that doctrine

 5   are proper and well-ground in law. This Motion to Amend is neither. The issues of amendment

 6   and relation-back were litigated extensively before this Court and the Ninth Circuit in the course

 7   of Massachusetts Counsel’s earlier motions seeking intervention and amendment on behalf of

 8   these same clients. See supra at 5-8. All such motions filed by Massachusetts Counsel were

 9   rejected, all orders rejecting those arguments are fully final, and there is no longer a pending action

10   against the Proposed Defendants that is capable of being amended. Id. Moreover, the Motion to

11   Amend, in its half-hearted single sentence of argument, cites no case in which a plaintiff has

12   amended a complaint post-final judgment, let alone done so in the circumstances like those

13   presented here.

14          That the Court has not had the occasion to reach the substance of the timeliness issue and

15   specifically hold that the Massachusetts claims are time-barred (because Massachusetts Counsel’s

16   prior motions and appeals were rejected due to other procedural and substantive failures) does not

17   change the impropriety of asserting such stale claims here. Rule 11 requires that counsel have an

18   objectively reasonable basis for asserting their claims under existing law or articulate a

19   nonfrivolous argument for extending existing law. The Motion to Amend does not article any such

20   argument. Rule 11 sanctions may be imposed where counsel should have known of facts that

21   rendered a claim untimely. See Estate of Blue v. Cnty. of Los Angeles, 120 F.3d 982, 985 (9th Cir.

22   1997) (upholding a sanctions award where a reasonable investigation would have revealed the

23   plaintiff’s claim was barred by the statute of limitations); see also Matsumaru v. Sato, 521

24   F.Supp.2d 1013, 1015-16 (D. Ariz. Nov. 14, 2007) (imposing sanctions for failure to conduct an

25   objective, reasonable inquiry where the party “should have known that the statute of limitations

26   had expired and that there was no good-faith argument that it should be tolled.”); Mir v. Little Co.

27   of Mary Hosp., 844 F.2d 646, 652-653 (9th Cir. 1988) (affirming sanctions against plaintiff who

28   should have realized that its complaint was barred by statute of limitations and res judicata). Here,

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 1   Massachusetts Counsel have offered virtually zero argument in the Motion to Amend as to why or

 2   how their claims remain timely.

 3          Indeed, Massachusetts Counsel and their clients can offer no reasonable excuse for their

 4   twelve-year delay in attempting to reassert the claims they abandoned in 2010. Massachusetts

 5   Counsel’s preferred excuse—that Gianasca and Caldwell were unceremoniously “dropped from

 6   the litigation without notice”—strains credulity. ECF No. 6072 at 5. Mr. Bonsignore and Mr.

 7   Alioto have respectively represented Gianasca and Caldwell since 2008. See ECF No. 144, at 8

 8   (March 14, 2008 filing by Joseph Alioto listing Alioto Law Firm as counsel for Barbara Caldwell);

 9   Compl., Terry v. LG Elecs., Inc., Case No. 4:08-cv-01559 (March 21, 2008), ECF No. 1 (listing

10   Robert Bonsignore as counsel for Anthony Gianasca). As representatives for purported class

11   members in this litigation, Massachusetts Counsel were responsible for monitoring the case,

12   apprising their clients of developments that impacted their claims, and advising them accordingly.

13   See In re: Phenylpropanolamine (PPA) Prod. Liab. Litig., No. C03-1101, 2006 WL 8446679, at

14   *2 (W.D. Wash. May 16, 2006) (holding that it “is the responsibility of counsel to monitor the

15   case [electronic docket] for activity”) aff’d, 318 F. App’x 451 (9th Cir. 2008). Assuming

16   Massachusetts Counsel fulfilled their obligations as counsel to Gianasca and Caldwell and notified

17   them of case developments, the failure to timely intervene or attempt to re-assert their claims

18   earlier is inexcusable6; alternatively, if Massachusetts Counsel did not inform their clients of the

19   abandonment of their claims, their “inattention regarding the progress of this case” renders their

20   delay “in filing this motion categorically unreasonable.” Id. In any event, the Motion to Amend

21   does not articulate any objectively reasonable basis for Massachusetts Counsel to now reassert

22   Gianasca’s or Caldwell’s long-stale claims.

23          D.      Massachusetts Counsel Should be Sanctioned for Asserting Claims Against
                    Certain LGE, Panasonic, and Philips Entities in the Proposed Complaint
24

25
     6 If Massachusetts Counsel and their clients disagreed with decisions made by IPP lead counsel in
     2009 and 2010, and wished to try reasserting claims, it was their responsibility to promptly
26   intervene at that time. See Allen v. Bedolla, 787 F.3d 1218, 1222 (9th Cir. 2015) (recognizing that
     a movant must “act promptly” to intervene after receiving notice that their interests were not being
27   represented and denying untimely motion to intervene); SurvJustice Inc. v. DeVos, No. 18-cv-
     00535-JSC, 2019 WL 1427447, at *4 (N.D. Cal. Mar. 29, 2019) (Corley, M.J.) (holding motion to
28   intervene untimely where movants delayed seven months after notice of plaintiffs’ arguments).

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 1                  Without Any Reasonable Basis

 2          Massachusetts Counsel’s decisions to allege claims in the Proposed Complaint against the
 3   LGE entities, 7 the Panasonic Subsidiaries, and the Philips Subsidiaries—without a reasonable
 4   basis in law and fact—and their continued refusal to drop these defendants despite outreach from
 5   the Proposed Defendants’ counsel provide additional, independent grounds for sanctions. LGE
 6   settled with IPPs earlier than other former defendants and received a nationwide release without
 7   objection, which includes the final release of all Massachusetts IPP claims that Massachusetts
 8   Counsel now seek to assert. Of the Panasonic Subsidiaries, one (PNA) was granted summary
 9   judgment in its favor because there has been no evidence it participated in any conspiracy; the
10   other two have long ceased to exist as entities, and one of them was never joined to this MDL as
11   party. The Philips Subsidiaries were granted partial summary judgment on the basis of their
12   withdrawal from any alleged conspiracy in June 2001, yet the Proposed Complaint now alleges
13   they participated in a conspiracy until 2007.
14          Massachusetts Counsel have been on notice for years of this Court’s final rulings
15   dismissing claims against these former defendants, and the Proposed Defendants’ counsel have
16   reminded them of those rulings in correspondence before bringing this motion for sanctions.
17   However, Massachusetts Counsel have taken no action to drop their improper claims against these
18   former defendants and have not offered any explanation at all, neither in the Motion to Amend nor
19   in communications between counsel, for why they believe these claims are proper. The Proposed
20   Defendants are now forced again to explain to the Court why these entities are improper
21   defendants. Massachusetts Counsel should be sanctioned for their baseless assertion of claims and
22   waste of both the Proposed Defendants’ and the Court’s time and resources.
23                  1.      The Improperly Named LGE Entities
24          LGE settled with all IPPs in May 2013. As Mr. Bonsignore has acknowledged to both
25   LGE’s counsel and this Court, that settlement was final and never challenged or appealed, and
26   later objections to subsequent settlements left LGE’s settlement undisturbed. Nevertheless, on
27   7The improperly named LGE entities alleged are LG Electronics, Inc., LG Electronics USA, Inc.,
28   and LG Electronics Taiwan Taipei Co., Ltd (collectively, “LGE”).

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 1   September 16, 2022, Massachusetts Counsel filed the Proposed Complaint on behalf of

 2   Massachusetts IPPs listing LGE as a defendant.

 3          When LGE’s counsel informed Massachusetts Counsel that the inclusion of LGE was in

 4   error, Mr. Bonsignore agreed and said he would file a new proposed amended complaint removing

 5   LGE as a defendant. Despite acknowledging that including LGE was an error, Massachusetts

 6   Counsel have failed to withdraw the complaint as to LGE, even after numerous attempts by LGE’s

 7   counsel to contact Massachusetts Counsel in the hopes of avoiding having to involve the Court. As

 8   a result, LGE was forced to incur the unnecessary time and expense of filing an opposition to the

 9   Motion to Amend that Massachusetts Counsel knew was improper. Even after that filing,

10   Massachusetts Counsel have done nothing to rectify their improper attempt to reinstate a case that

11   was settled nearly a decade ago, nor have they responded to LGE’s filings explaining why their

12   Proposed Complaint is improper.

13          This Court granted final approval to LGE’s May 2013 settlement with all IPPs on April 18,

14   2014. ECF No. 1933-1; ECF No. 2542. Alongside approval of the settlement, this Court entered

15   final judgment of dismissal with prejudice in LGE’s favor. ECF No. 2543. Per this Court’s order

16   approving the settlement, LGE obtained the release of claims from “[a]ll persons and or entities

17   who or which indirectly purchased in the United States for their own use and not for resale, CRT

18   Products,” with the express exception solely of claimants from Illinois, Oregon, and

19   Washington. Id. ¶ 3. The attorneys general of those three states sought to amend the originally

20   drafted LGE settlement to secure their residents’ exclusion from the settlement class due to the

21   pendency of litigation in their state courts; LGE, the IPPs, and the States of Illinois, Oregon, and

22   Washington ultimately jointly moved for—and obtained—this limited revision to the LGE

23   settlement prior to final approval. ECF No. 1988.

24          The attorney general of Massachusetts made no similar effort, nor did Massachusetts

25   Counsel or any Massachusetts plaintiff or putative class member object to the LGE

26   settlement. Thus, Massachusetts residents remain squarely within the scope of the LGE

27   settlement’s release. Moreover, no party—from any state—appealed the final approval order, and

28   the time for such appeal has long since passed. See Fed. R. App. P. 4(a)(1)(A). Finally—and

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 1   importantly—the LGE settlement was not one of the subsequent settlements that were appealed,

 2   vacated, renegotiated, and later re-approved. Further, when Mr. Bonsignore and others later filed

 3   their motion to vacate the 2010 Stipulation (ECF No. 5469), LGE opposed in light of the finality

 4   of its settlement, explaining that the objections and appeals related to the 2015 settlements had “no

 5   bearing on the LGE settlement.” ECF No. 5487. In reply, Mr. Bonsignore and his co-counsel

 6   unequivocally agreed:

 7           The concerns . . . LG Defendants express—that vacating the [2010] Stipulation will
             affect the final judgments entered among them, IPPs, and certain State Attorneys
 8           General—are groundless. Vacating the Stipulation would leave undisturbed
             those final judgments and approval orders. . . . Vacatur would impact only the
 9           case that IPP class members have against the Defendants who remain subject
10           to this Court’s and the Ninth Circuit’s jurisdiction.

11   ECF No. 5489, at 8 (emphasis added).

12           Nonetheless, when Massachusetts Counsel filed their Motion to Amend and Proposed

13   Complaint, they included LGE in the caption and among the defendants listed in the Proposed

14   Complaint. E.g., ECF No. 6072-5 ¶¶ 20–22. But the Massachusetts IPPs released their claims

15   against LGE and additionally covenanted not to sue LGE for these claims. Accordingly, any

16   attempt to include LGE in further IPP litigation breaches the settlement agreement and violates

17   this Court’s order granting final approval of that settlement.

18           As explained in LGE’s preliminary response (ECF No. 6082) and opposition (ECF No.

19   6106) to the Motion to Amend, Mr. Bonsignore agreed that inclusion of LGE in the motion and

20   accompanying Proposed Complaint was in error. Mr. Bonsignore told LGE’s counsel that he

21   would promptly amend the motion and Proposed Complaint to remove any reference to LGE as a

22   defendant. Counsel for LGE repeatedly cautioned him that if Massachusetts Counsel failed to file

23   a correction to their Motion to Amend, LGE would be unnecessarily forced to respond and would

24   seek to be reimbursed for the costs of doing so. ECF No. 6092-2, Exs. 1 & 3. Unfortunately,

25   despite numerous attempts over the course of several weeks to correct the error without troubling

26   the Court (id., Exs. 1–3), LGE was put in that very position, necessitating its motion 8 for leave to

27      8   The Court granted LGE’s motion to file an opposition, ECF No. 6103, and LGE filed its
28   opposition on October 31, 2022, ECF No. 6106.

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 1   file an opposition to the Massachusetts IPPs’ motion on October 10, 2022. ECF No. 6092.

 2          Incredibly, Massachusetts Counsel have not followed through on their promise to amend

 3   their motion and Proposed Complaint. They have not responded in any way to LGE’s filings,

 4   notwithstanding the Court’s warning: “If a timely reply is not filed, the Court will deny

 5   Massachusetts IPPs’ motion [to amend] as to claims against LGE.” ECF No. 6103. Massachusetts

 6   Counsel have been part of this long-running case and representing these very same Massachusetts

 7   IPPs since its inception, meaning they unquestionably should have known that including LGE in

 8   the proposed amended complaint was improper and that the complaint contains “claims” that are

 9   not “warranted by existing law.” Fed. R. Civ. P. 11(b)(2). Massachusetts Counsel subsequently

10   agreed that it was an error to name LGE as a defendant, but failed to timely amend their filings,

11   forcing LGE and this Court to spend unnecessary time addressing a facially improper motion, thus

12   “needlessly increas[ing] the cost of litigation,” Fed. R. Civ. P. 11(b)(1), and “multipl[ying] the

13   proceedings in any case unreasonably and vexatiously,” 28 U.S.C. § 1927. Under these

14   extraordinary circumstances, sanctions are appropriate. See Kaufman, 2017 WL 3335760, at *5;

15   Frye v. Pena, 199 F.3d 1332 (9th Cir. 1999) (affirming monetary sanctions under Section 1927

16   against attorney who filed a frivolous lawsuit and, among other things, was “given the opportunity

17   to dismiss the case, [and] refused to do so, thereby needlessly multiplying the proceedings”).

18                  2.      The Improperly Named Panasonic Entities

19          Massachusetts Counsel’s decision to name the three Panasonic Subsidiaries—PNA,

20   MTPD, and Matsushita Malaysia—as defendants and their continued refusal to revise their

21   Proposed Complaint despite knowledge that there is no legal or evidentiary basis for asserting

22   claims against the Panasonic Subsidiaries should result in sanctions under Rule 11 and 28 U.S.C.

23   § 1927. 9

24          Notably, Massachusetts Counsel made this same error previously in 2019 when the ORS

25   initially served a proposed complaint attached to one of their motions to intervene (ECF Nos. 5567,

26
     9Proposed Defendant Panasonic Corporation also continues to deny the factual allegations of its
27
     participation in any CRT conspiracy and reserves all arguments in response to the Proposed
28   Complaint.

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 1   5567-1 at ¶¶ 106-10). But they corrected the error in response to communications with

 2   Panasonic’s counsel, and voluntarily filed a revised proposed complaint dropping PNA and MTPD

 3   as proposed defendants. See Goldstein Decl. Ex. A.2; ECF Nos. 5570, 5570-1 at ¶¶ 104-06. Now,

 4   three years after having withdrawn their proposed claims against PNA and MTPD, Massachusetts

 5   Counsel have again reintroduced them as proposed defendants without any explanation and have

 6   refused to take any action in response to Panasonic’s counsel’s requests. Nothing has changed in

 7   the intervening years to justify this.

 8                          i.      There is no reasonable basis for claims against PNA

 9          With respect to PNA, after almost a decade of litigation including discovery of millions of

10   documents and over a hundred depositions, this Court found in February 2017 that there was no

11   evidence that PNA ever participated in the alleged CRT conspiracy and granted summary

12   judgment in its favor. ECF No. 5119, at 10-11. That order is fully final and no longer subject to

13   appeal. The Court has also previously informed Massachusetts Counsel that if any ORS claims

14   were brought, the Court did not plan to revisit issues already decided on summary judgment, absent

15   unique issues for the new plaintiffs or a change in controlling authority. ECF No. 5559, Hr’g Tr.

16   at 6:17-7:3 (attended by Mr. Bonsignore, who noted his coordination with Joseph Alioto at 22:17-

17   20). Rule 11 sanctions are appropriate where a plaintiff is put on notice of a factual deficiency in

18   its claim through an adverse summary judgment ruling, and thereafter files a new complaint

19   asserting the same claim without having any additional factual support. See Debeikes v. Hawaiian

20   Airlines, Inc., No. CV 13-00504 ACK-RLP, 2016 WL 409991, at *2, 9-10 (D. Haw. Feb. 1, 2016),

21   aff’d, 725 F. App’x 499 (9th Cir. 2018) (affirming imposition of Rule 11 sanctions where

22   plaintiff’s claims were dismissed without prejudice on summary judgment, and plaintiff reasserted

23   the same claims in an amended complaint without any additional factual basis).

24          Yet the Motion to Amend and Proposed Complaint make no new factual allegations against

25   PNA, cite to no changes in controlling law, and offer no new evidence that would justify a

26   deviation from this Court’s prior ruling. To the contrary, Massachusetts Counsel acknowledge

27   that they have brought “identical” factual allegations to those on which this Court granted

28   summary judgment, purport to base their claims on the same “legal theories” as those that resulted

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 1   in PNA’s dismissal, and do not cite to the existence of new evidence given that this Court’s prior

 2   ruling was made on a full record. ECF No. 6072, at 5, 11. Thus, by Massachusetts Counsel’s own

 3   admission, the Proposed Complaint involves no new evidence about PNA, and is instead based on

 4   the same insufficient evidence that led to this Court’s prior dismissal of PNA.

 5                          ii.    There is no reasonable basis for claims against MTPD

 6          There is no reasonable basis for claims against MTPD because it has been dissolved and,

 7   pursuant to a liquidation plan publicly announced in March 2017, final liquidation proceedings

 8   were completed in Japan on May 23, 2019. See Goldstein Decl. Ex. A.2. In light of this dissolution

 9   and liquidation, MTPD no longer exists, and its liabilities have been discharged.

10          Panasonic counsel previously explained MTPD’s dissolution to Mr. Bonsignore and

11   provided the Osaka District Court’s certification to him in August 2019 (see Goldstein Decl. Ex.

12   A.1; A.2), at which time Mr. Bonsignore and the other ORS Counsel dropped claims against

13   MTPD from their 2019 proposed complaint. Panasonic counsel have recently re-sent this

14   certification to Mr. Bonsignore and Mr. Alioto (see Goldstein Decl. Ex. A). Massachusetts

15   Counsel have not made any attempt to explain why they believe they can assert discharged claims

16   against a liquidated former entity, and there is no reasonable basis for such zombie claims.

17                          iii.   There is no reasonable basis for claims against Matsushita
                                   Malaysia
18
            There is no reasonable basis for claims against Matsushita Malaysia because, by the
19
     Proposed Complaint’s own admission, it closed in 2006. ECF No. 6072-5 ¶ 51. Indeed,
20
     Matsushita Malaysia was dissolved prior to the start of the CRT litigation in 2007, and although
21
     some early complaints named Matsushita Malaysia as a defendant, it was never joined as a party
22
     to this MDL (as it could not be). By the time of IPPs’ Second Consolidated Amended Complaint
23
     in 2010, these issues were resolved, and Matsushita Malaysia was not named as a defendant.
24
                    3.      The Improperly Named Philips Entities
25
            There is also no objectively reasonable basis for the Proposed Complaint to name the
26
     Philips Subsidiaries as defendants consistent with Rule 11, thus constituting yet another
27
     independent ground for sanctions against Massachusetts Counsel. The Proposed Complaint seeks
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                                                    22
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 1   to assert claims that are “essentially identical” to those previously pursued by other plaintiffs in

 2   this MDL and alleges a conspiracy running until at least 2007. ECF No. 6072, at 5; see also ECF

 3   No. 6072-5 ¶ 1. On August 22, 2016, the Court granted the Philips Subsidiaries’ Motion for Partial

 4   Summary Judgment, ECF No. 3027, based on the Philips Subsidiaries’ withdrawal from the

 5   alleged conspiracy in June 2001. ECF No. 4786. As noted above, the Court has since made clear

 6   that it would not revisit issues already decided on summary judgment, absent unique issues arising

 7   for new plaintiffs or changes in controlling authority. ECF No. 5556 (Aug. 8, 2019 Hr’g Tr. 6:17-

 8   25). The Proposed Complaint does not allege any such unique or new issues. Massachusetts

 9   Counsel consequently lack any legal basis to contest this Court’s prior ruling that the Philips

10   Subsidiaries withdrew in June 2001. And even giving the Massachusetts Counsel’s clients the full

11   benefit of the original Terry Complaint, the Massachusetts claims filed in 2008 came more than

12   two years after the expiration of the four-year statute of limitations applicable to Mass. Gen. Laws

13   ch. 93A. See Mass. Gen. Laws ch. 260, § 5A. 4786. There is thus no objectively reasonable basis

14   in fact to assert any claim against the Philips Subsidiaries.

15   IV.    CONCLUSION

16          The Motion to Amend and Proposed Complaint filed by Massachusetts Counsel pursue

17   objectively baseless claims. For each of the independent reasons above, the moving Proposed

18   Defendants respectfully request that Massachusetts Counsel be sanctioned under Rule 11 and 28

19   U.S.C. § 1927 and that, as sanctions, the Court (1) deny the Motion to Amend; (2) award the

20   Proposed Defendants their reasonable attorneys’ fees and costs associated with this Motion for

21   Sanctions; (3) award the Proposed Defendants their reasonable attorneys’ fees and costs associated

22   with their defense against the Motion to Amend; and (4) award any other relief deemed appropriate

23   by the Court to deter repetition of Massachusetts Counsel’s conduct.

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 1
             December ___, 2022                      Respectfully Submitted,
 2

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21

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27    10  MT Picture Display Co., Ltd. has been dissolved and completed final liquidation proceedings
28   in Japan on May 23, 2019.

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     Motion for Sanctions                                               Case No.: 4:07-cv-05944-JST
          Case 4:07-cv-05944-JST Document 6126-3 Filed 12/22/22 Page 39 of 71



 1
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12                                         /s/ Erik T. Koons
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17                                         Koninklijke Philips, N.V., Philips North America
                                           LLC, Philips Taiwan Limited, and Philips do
18                                         Brasil, Ltda

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     Motion for Sanctions                                   Case No.: 4:07-cv-05944-JST
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            EXHIBIT A
     Case 4:07-cv-05944-JST Document 6126-3 Filed 12/22/22 Page 41 of 71


From:            Goldstein, Kevin B.
To:              rbonsignore@classactions.us; jmalioto@aliotolaw.com
Cc:              Kessler, Jeffrey; *erik.koons@bakerbotts.com; Cole, Eva; David L. Yohai (david.yohai@weil.com); Olsen,
                 Matthew; fwhitaker@classactions.us
Subject:         CRT - Letter re MA ORS Motion to Amend & Proposed Complaint
Date:            Monday, October 10, 2022 7:04:14 PM
Attachments:     2022-10-10 - CRT - Ltr to Bonsignore and Alioto re MA ORS Mot to Amend.pdf
                 Exhibits to 2022-10-10 - CRT - Ltr to Bonsignore and Alioto re MA ORS Mot to Amend.pdf


Dear Robert and Joseph,

Please see the attached letter.

Best regards,
Kevin

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      Case 4:07-cv-05944-JST Document 6126-3 Filed 12/22/22 Page 42 of 71




                                                                                  JEFFREY L. KESSLER
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October 10, 2022

VIA EMAIL

Robert J. Bonsignore, Esq.                 Joseph M. Alioto, Esq.
Bonsignore Trial Lawyers, PLLC             Alioto Law Firm
23 Forest Street                           One Sansone Street, 35th Floor
Medford, Massachusetts 02155               San Francisco, California 94104
rbonsignore@class-actions.us               jmalioto@aliotolaw.com

Re:    In re Cathode Ray Tube (CRT) Antitrust Litig., MDL No. 1917, Case No. 3:07-cv-05944-
       JST (N.D. Cal.)

Dear Robert and Joseph,

        We write to you on behalf of the proposed Panasonic and Philips defendants named in your
recently filed Motion to Amend Complaint or Otherwise Pursue Pending Claims (the “Motion”)
and proposed Indirect Purchasers Plaintiffs’ Fifth Amended Complaint (the “Proposed
Complaint”) in the above-captioned MDL. ECF Nos. 6072, 6072-5.1

        The Motion and Proposed Complaint are improper under Rule 11 of the Federal Rules of
Civil Procedure (“Rule 11”) for multiple reasons, summarized below, each of which demonstrates
a lack of proper purpose or a failure to conduct a reasonable inquiry into the facts and law before
signing the Motion and Proposed Complaint. See Bus. Guides, Inc. v. Chromatic Commc’ns
Enterprises, Inc., 498 U.S. 533, 554 (1991) (Rule 11 imposes an objective standard of reasonable
inquiry). First, the Motion knowingly contravenes multiple orders of the MDL court and the Ninth
Circuit on motions and appeals that you have previously filed—and lost—attempting to assert
substantially the same claims on behalf of the same movants, Mr. Gianasca and Ms. Caldwell.
Second, the Proposed Complaint’s Massachusetts state-law claims are objectively baseless due to
your clients’ conceded failure to comply with Massachusetts’s statutory pre-suit demand letter
requirements, as the MDL court has already ruled. Third, the attempt to reassert Massachusetts
claims that were abandoned in 2010 is objectively in bad faith. And fourth, the Proposed
Complaint lacks any factual basis to assert claims against various entities that were long ago
dismissed from the MDL due to lack of evidence, were never part of the MDL, or are defunct and
dissolved, including Panasonic Corporation of North America; MT Picture Display Co., Ltd.;
Matsushita Electronic Corporation (Malaysia) Sdn Bhd.; Philips Electronics North America
Corporation (n/k/a Philips North America LLC); Philips Electronics Industries (Taiwan), Ltd.
(n/k/a Philips Taiwan Limited); and Philips da Amazonia Industria Electronica Ltda. (n/k/a Philips

1
 Unless otherwise stated, all ECF citations are to the docket of In re Cathode Ray Tube (CRT) Antitrust
Litig., MDL No. 1917, Case No. 3:07-cv-05944-JST (N.D. Cal.).
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                                                                                                 Page 2



do Brasil, Ltda.). Each of these grounds alone is sufficient to sustain a Rule 11 motion. Taken
together, they are a gross violation of the rule that wastes the resources of the Court and our clients.

         If necessary, we will prepare a formal Rule 11 motion, which we will serve upon you prior
to filing with the Court as required by the rule. However, before we incur yet more expense
litigating against your objectively baseless filing, we are writing to demand that you withdraw the
Motion and Proposed Complaint. Please withdraw these improper filings by October 14, 2022.

Defiance of Final Court Orders

         The Motion knowingly violates multiple court orders and is an improper attempt to
relitigate issues that are no longer subject to further appeal, and which are final and binding under
both the law of the case doctrine and the rule of mandate.

        As you know, the MDL court has already ruled, inter alia, that you may not amend someone
else’s complaint and that, if your clients wish to pursue claims, you must file a separate action and
have it transferred to the MDL.2 The MDL court also has already declined to consider your
argument that Gianasca’s 2008 Terry complaint could be amended.3 Moreover, the Ninth Circuit
has rejected your appeals from those rulings and from final judgment in the indirect-purchaser
action, holding that “[t]here is no longer an action against Defendants into which the ORS and
NRS appellants can intervene.”4

        Your recent filing knowingly violates each of these final and binding orders. Your
Proposed Complaint is again styled as Indirect Purchasers Plaintiffs’ Fifth Amended Complaint
and captioned for filing solely in the master MDL docket, seeking improperly to amend the IPPs’
complaint (despite statements in your Motion stating that you seek to amend Gianasca’s 2008
Terry complaint). You have again filed a motion seeking to lodge new claims directly in the MDL,
rather than file a separate action. And you have ignored the Ninth Circuit’s ruling that, following
the entry of final judgment, there is no pending action against the former Philips, Panasonic,
Hitachi, Toshiba, Samsung SDI, and Thomson Defendants, which bars the argument that the Terry
action is still pending and that the Terry Complaint can be amended.

        The time to argue these issues has come and gone: Gianasca and Caldwell had the
opportunity to challenge these rulings upon appeal, did so, and were unsuccessful. There is no
objectively lawful basis to reassert these claims now.



2
 Order Denying Renewed Motions to Intervene (“Renewed Intervention Order”), ECF No. 5684; Order
Denying Motion to Intervene and Amend Complaint to Allege State Law Claims for Other Repealer States,
ECF No. 5628.
3
 Order Denying Motion to Alter or Amend the Court’s Order, ECF No. 5708; see also Mot. to Alter or
Amend Order Denying Renewed Motions to Intervene, ECF No. 5688 at 2 n.1 (arguing that the Terry
complaint could be amended by ORS plaintiffs); Defs.’ Resp., ECF No. 5690 at 7–8.
4
    In re Cathode Ray Tube Antitrust Litig., No. 20-15697, 2021 WL 4306895 *2 (9th Cir. Sept. 22, 2021).
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Knowing Failure to Provide a Pre-Suit Demand for the Massachusetts State-Law Claims

      The Proposed Complaint seeks improperly to bring two claims under Massachusetts state
law on behalf of Caldwell and Gianasca despite your knowing failure to provide the pre-suit
demand required by Massachusetts General Laws 93 A, as already found in this MDL.

        As you know, Caldwell’s Massachusetts claims were ruled legally nonviable over a decade
ago, when Special Master Legge recommended that they be dismissed with prejudice. ECF No.
768 at 8, 12–14. The later vacatur of the 2010 stipulated order adopting those recommendations
did not revitalize those nonviable claims. See Proposed Defs.’ Resp., ECF No. 6084-1 at 21–22.

        This same fatal legal defect applies equally to the Massachusetts claims of Gianasca. As
you know, Gianasca did not serve a pre-suit demand prior to filing the 2008 Terry complaint that
you assert as the basis for amendment. And your disingenuous service in June 2019—eleven years
later—of a demand letter on Gianasca’s behalf cannot retroactively remedy the failure to serve a
pre-suit demand. As found by Judge Legge, a plaintiff cannot “fail to comply [with MGL 93A],
but then cure that failure by sending a late notice and then re-filing the same complaint.” ECF 768
at 13. There is, thus, no reasonable basis for the pursuit of these claims.

Knowingly Filing Untimely Claims

        It is wholly improper for you to seek to file Massachusetts state law claims, which were
voluntarily dismissed nearly twelve years ago and thus grossly out of time. As you know, it has
been clear since the Third Amended Complaint was filed, in December 2010, that the state law
damages claims of purported Massachusetts plaintiffs were not being pursued by lead class
counsel. If your clients disagreed with that decision, they were required to move promptly to
intervene. See Allen v. Bedolla, 787 F.3d 1218, 1222 (9th Cir. 2015); SurvJustice Inc. v. DeVos,
No. 18-cv-00535, 2019 WL 1427447, at *4 (N.D. Cal. Mar. 29, 2019) (Corley, M.J.). Instead,
they sat on their rights for twelve years.

        Your firms have respectively represented Gianasca and Caldwell since prior to the filing
of the Third Amended Complaint. See ECF No. 144 (March 3, 2008 filing by Joseph Alioto listing
Alioto Law Firm as counsel for Barbara Caldwell); Compl., Terry v. LG Elecs., Inc., Case No.
4:08-cv-01559 (March 21, 2008), ECF No. 1 (listing Robert Bonsignore as counsel for Anthony
Gianasca). As represented parties with counsel of record receiving ECF notices, both Gianasca
and Caldwell were required to take action to preserve their claims when they were not pursued in
the Third Amended Complaint twelve years ago. See In re: Phenylpropanolamine (PPA) Prod.
Liab. Litig., No. C03-1101, 2006 WL 8446679, at *2 (W.D. Wash. May 16, 2006) (holding that it
“is the responsibility of counsel to monitor the case [electronic docket] for activity” and that
counsel’s failure to do so rendered delayed motion filing “categorically unreasonable”), aff’d, 318
F. App’x 451 (9th Cir. 2008). You have no objectively reasonable basis to pursue those long-
abandoned and untimely claims now.
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Claims Against Certain of the Proposed Panasonic Defendants that Have No Objectively
Reasonable Basis

        Your Proposed Complaint names Panasonic Corporation of North America (“PNA”), MT
Picture Display Co., Ltd. (“MTPD”), and Matsushita Electronic Corporation (Malaysia) Sdn Bhd.
(“Matsushita Malaysia”) as proposed defendants.5 However, you have no objectively reasonable
basis for including these entities as defendants.

        As you are well aware, the Proposed Complaint is not the first proposed amended
complaint you have filed on behalf of purported Massachusetts plaintiffs: a similar proposed
complaint was filed on August 23, 2019. ECF No. 5567-1. Prior to that filing, we wrote to you
concerning the status of PNA, MTPD, and Matsushita Malaysia and set forth the reasons why there
was no objectively reasonable basis to name these entities as defendants in a manner consistent
with counsel’s obligations under Rule 11. See Ex. 1, Aug. 19, 2019 Email from Kevin Goldstein
to Robert Bonsignore, Fran Scarpulla, Theresa Moore; Ex. 2, Aug. 19, 2019 Ltr. from J. Kessler
to Fran Scarpulla (copying Robert Bonsignore).

         With respect to PNA, the letter pointed out that in February 2017, Judge Tigar held that
there was no evidence that PNA ever participated in the claimed conspiracy and granted summary
judgment in favor of PNA. Ex. 2 at 1–2; see ECF No. 5119. The letter also reminded you that
Judge Tigar had since made clear that he would not revisit issues already decided on summary
judgment, absent unique issues arising for new plaintiffs or changes in controlling authority. Ex.
2 at 2; see Aug. 8, 2019 Case Mgmt. Conf. Tr. 6:17-25. With respect to MTPD, the letter noted
that it had been dissolved and final liquidation proceedings were completed in Japan on May 23,
2019. Ex. 2 at 2. The letter also reminded you that Matsushita Malaysia was an entity that had
never been joined as a party to the case, and had been dissolved over a decade before. Id.

        In apparent response to our communications to you about these Panasonic entities, you
filed a revised proposed complaint on August 28, 2019, dropping PNA, MTPD, and Matsushita
Malaysia as proposed defendants. ECF No. 5570-1, ¶ 104.

       Despite the above history, you have now filed a new Proposed Complaint that inexplicably
includes PNA, MTPD, and Matsushita Malaysia as proposed defendants. This proposed inclusion
cannot be objectively justified, and we urge you to immediately remove these entities as proposed
defendants.




5
 Panasonic Corporation also denies any allegation that it engaged in unlawful conduct with respect to the
CRT business and further believes that Caldwell and Gianasca’s anticipated claims are unfounded,
untimely, and not actionable, and reserves all arguments concerning the same.
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Claims Against Certain of the Proposed Philips Defendants that Have No Objectively
Reasonable Basis

        Your Proposed Complaint also names Philips Electronics North America Corporation
(n/k/a Philips North America LLC), Philips Electronics Industries (Taiwan), Ltd. (n/k/a Philips
Taiwan Limited), and Philips da Amazonia Industria Electronica Ltda. (n/k/a Philips do Brasil,
Ltda.; collectively, the “Philips Subsidiaries”).

        Similar to the arguments above, there is no objectively reasonable basis for you to name
the Philips Subsidiaries as defendants consistent with Rule 11. As you know, your Proposed
Complaint is based on an alleged conspiracy to fix the prices of CRT Products between 1995 and
2007. The allegations in the Proposed Complaint are nearly identical to the more-than-thirty
complaints filed by other plaintiffs and consolidated in this MDL No. 1917. On August 22, 2016,
the Court granted the Philips Subsidiaries’ Motion for Partial Summary Judgment, ECF No. 3027,
based on the Philips Subsidiaries’ withdrawal from the alleged conspiracy in June 2001. ECF No.
4786. As noted above, Judge Tigar has since made clear that he would not revisit issues already
decided on summary judgment, absent unique issues arising for new plaintiffs or changes in
controlling authority. Ex. 2 at 2; see Aug. 8, 2019 Case Mgmt. Conf. Tr. 6:17-25. Accordingly,
you lack any legal basis to contest Judge Tigar’s prior ruling that the Philips Subsidiaries withdrew
in June 2001. With this fact established, and even giving you the full benefit of the original Terry
Complaint for purposes of this argument only,6 the Massachusetts claims filed in 2008 came more
than two years after the expiration of the four-year statute of limitations applicable to Mass. Gen.
Laws ch. 93A. See Mass. Gen. Laws ch. 260, § 5A.

       Given the above history, your inclusion of the Philips Subsidiaries as defendants in your
Proposed Complaint cannot be justified, and we urge you to immediately remove these entities as
proposed defendants.

Conclusion

       For each of the above reasons, we demand that you promptly withdraw the Motion and
Proposed Complaint. Should you fail to withdraw these filings by October 14, 2022, we will
proceed to prepare and serve a formal Rule 11 demand and motion. If we have to pursue such a
Rule 11 motion, we will ask the Court to award Panasonic and Philips all fees and costs they have
incurred defending against your Motion and Proposed Complaint under Rule 11 or, alternatively,
under 28 U.S.C. § 1927, as well as all fees and costs incurred for the sanctions motion.

       We hope that filing a Rule 11 motion will be unnecessary, and that this matter can be
resolved on a voluntary basis.




6
  Philips continues to strongly disagree that you have a valid claim against any Philips entity and reserves
all arguments regarding same.
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                                                                                               Page 6



                                                       Sincerely,

                                                       /s/ Jeffrey L. Kessler
                                                       WINSTON & STRAWN LLP
                                                       JEFFREY L. KESSLER
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                                                       New York, NY 10166
                                                       jkessler@winston.com

                                                       Attorneys    for   Proposed     Defendants
                                                       Panasonic Corporation (f/k/a Matsushita
                                                       Electric Industrial Co., Ltd.), Panasonic
                                                       Corporation of North America, and MT
                                                       Picture Display Co., Ltd.7


                                                       /s/ Erik T. Koons
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                                                       Attorneys    for     Proposed Defendants
                                                       Koninklijke Philips, N.V., Philips North
                                                       America LLC, Philips Taiwan Limited, and
                                                       Philips do Brasil, Ltda.

Attachments

cc:    Eva W. Cole
       Kevin B. Goldstein
       David L. Yohai




7
 MT Picture Display Co., Ltd. has been dissolved and completed final liquidation proceedings in Japan
on May 23, 2019.
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                  EXHIBIT 1
     Case 4:07-cv-05944-JST Document 6126-3 Filed 12/22/22 Page 49 of 71


From:            Goldstein, Kevin B.
To:              fos@scarpullalaw.com; tmoore@aliotolaw.com; rbonsignore@classactions.us
Cc:              Kessler, Jeffrey L.; Yohai, David; Cole, Eva W.
Subject:         In re CRT Antitrust Litig., MDL No. 1917 - Panasonic Letter to ORS Counsel
Date:            Monday, August 19, 2019 8:07:58 PM
Attachments:     2019-08-19 - CRT - Ltr to ORS.pdf
                 2019-08-19 - CRT - EXHIBITS to Ltr to ORS.pdf
                 image001.jpg
                 3bclean-control.bin


Dear Fran and all,
Please see the attached letter.
Best regards,
Kevin
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                  EXHIBIT 2
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                                                                                    JEFFREY L. KESSLER
                                                                                               +1 212 294 4698
                                                                                         jkessler@winston.com
August 19, 2019


VIA E-MAIL

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Re:     In re Cathode Ray Tube (CRT) Antitrust Litig., MDL No. 1917, Case No. 3:07-cv-05944-
        JST (N.D. Cal.)

Dear Fran,

       We write to you on behalf of the Panasonic Defendants in the above-referenced matter, and
in your capacity as liaison and co-lead counsel for indirect purchaser plaintiffs in the so-called
omitted repealer states (“ORS Plaintiffs”).

       We understand that the ORS Plaintiffs soon intend to seek leave to file an amended
complaint asserting state law claims on behalf of as many as nine states. As you prepare your
proposed complaint, we wanted to bring several things to your attention, so that you do not
inadvertently waste the Court’s and the parties’ time with wholly unnecessary litigation. You may
already be aware of these issues, in which case this letter will serve as a reminder.

Panasonic Defendants’ Status

        First, we want to bring to your attention the current status of certain of the “Panasonic
Defendants” in the MDL. As you are doubtless aware, there had previously been three Panasonic
Defendants active in the IPP litigation and MDL generally: Panasonic Corporation, Panasonic
Corporation of North America (“PNA”), and MT Picture Display Co., Ltd. (“MTPD”). Of these
three, PNA was granted summary judgment in its favor due to lack of evidence of its liability, and
MTPD has been liquidated in Japan and no longer exists. Accordingly, we expect that you will
not seek to name either PNA or MTPD as parties in your proposed amended complaint.1

      With respect to PNA, after the close of MDL fact discovery, PNA and Panasonic
Corporation moved for summary judgment on the basis that there was insufficient evidence of
1
 Panasonic Corporation also denies any allegation that it engaged in unlawful conduct with respect to the
CRT business and further believes that the ORS Plaintiffs’ anticipated claims are unfounded, untimely, and
not actionable. However, Panasonic Corporation remains a going concern and we acknowledge that the
Court did not grant its prior motion for summary judgment.
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their participation in the claimed conspiracy to proceed to trial. ECF No. 3001. IPPs and DAPs
jointly opposed the motion. ECF No. 3248. Judge Tigar subsequently granted PNA’s motion and
dismissed all claims against PNA, finding that there was no evidence of PNA’s participation in the
alleged conspiracy that could create a dispute of material fact as to PNA’s liability. ECF No. 5119.

        As Judge Tigar made clear at the August 8, 2019 case management conference, the Court
does not plan to revisit issues it already decided on summary judgment, absent unique issues for
the new plaintiffs or a change in controlling authority. CMC Tr. 6:17-25. PNA’s alleged liability
is one such issue that has already been resolved, and there is no basis to revisit it now. Therefore,
there is also no basis for the ORS Plaintiffs to assert any claim against PNA in their proposed
amended complaint.

        With respect to MTPD, in accord with the liquidation plan it publicly announced in March
2017, MTPD has been dissolved and final liquidation proceedings were completed in Japan on
May 23, 2019. A copy of the Osaka District Court’s certification of final and binding liquidation,
along with an unofficial translation, is attached hereto as Exhibit A. In light of this dissolution and
liquidation, MTPD no longer exists and its liabilities have been discharged. Accordingly, we
expect that the ORS Plaintiffs will not attempt to name MTPD as a defendant in their proposed
amended complaint.

        Similarly, certain early complaints in the MDL sought to name as defendants additional
purported Panasonic entities that either no longer exist or have never existed as distinct legal
entities. This included a Malaysian entity referred to as “Matsushita Malaysia” that was dissolved
over a decade ago, and an unincorporated business division of PNA known as Panasonic Consumer
Electronics Company. These purported entities were never joined as parties to the case, as indeed
they could not be. Further, these issues were resolved by the time of the IPPs’ Second
Consolidated Amended Complaint in May 2010 and neither Matsushita Malaysia nor Panasonic
Consumer Electronics Company were named as defendants. ECF No. 716. We assume the ORS
Plaintiffs will not repeat the error that some plaintiffs made in naming these non-entities early in
the case.

Oregon AG Action and Release

        We also write to confirm that the ORS Plaintiffs will not assert claims on behalf of Oregon
indirect purchaser plaintiffs in their proposed amended complaint.

       When the first IPP settlement in the MDL, with Chunghwa, was presented to the Court for
preliminary approval, the State of Oregon intervened in the MDL for the purpose of “asserting its
exclusive authority to represent indirect purchasers pursuant to Oregon’s Antitrust Act ….” ECF
No. 922. As the State of Oregon explained:

       “Oregon’s Illinois Brick repealer statute designates the Oregon Attorney General as the
       sole entity authorized to represent indirect purchasers for damages suffered as a result of
       antitrust violations. Pursuant to Oregon law, the Indirect Purchaser Plaintiffs in this case
      Case 4:07-cv-05944-JST Document 6126-3 Filed 12/22/22 Page 53 of 71

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                                                                                                 Page 3



        (the IPP) are precluded from representing the interests of Oregon indirect purchasers and
        lack standing or legal authority to bring or settle state law antitrust claims on their behalf.”

ECF No. 940 at 1-2 (internal footnote omitted). As a result of Oregon’s intervention, claims by
Oregon natural persons were specifically excluded from the Nationwide Class definition in all
subsequent IPP settlements. See Amended Order Granting Preliminary Approval, ECF No. 3906.

        Indeed, the Oregon attorney general exercised this exclusive right and brought her own suit
in Oregon state court on behalf of Oregon indirect purchasers. See State of Oregon, ex rel.
Rosenblum v. LG Electronics, Inc., et al., No. 1208 10246 (Or. Cir. Ct. Multnomah Cty.)
(hereinafter “Oregon Action”). The Panasonic Defendants, as well as Samsung SDI, Toshiba,
Hitachi, and Philips Defendants have all settled those Oregon claims on terms that, inter alia,
provide a complete release on behalf of Oregon natural-person purchasers, in exchange for
settlement payments that have already been distributed to those purchasers. See General Judgment,
Oregon Action (Mar. 27, 2017), a copy of which is attached hereto as Exhibit B. The Oregon
Action settlements and general judgment remain undisturbed by any subsequent rulings and are
outside the jurisdiction of the MDL court or the Ninth Circuit, and they preclude you from bringing
suit on behalf of such Oregon claimants.

        Based on your prior filings in the MDL, we know that you are aware of the Oregon attorney
general’s exclusive authority to bring an action for damages on behalf of Oregon resident indirect
purchasers, and believe you agree that it would be improper for you now to assert claims on behalf
of Oregon residents. Indeed, you expressly cited the Oregon attorney general’s exclusive authority
in 2016 briefing when you and Mr. Cooper first sought appointment as counsel for IPPs in states
other than the 22 States. See Reply ISO Mot. re Appointment of Co-Lead Class Counsel, ECF No.
4278 at 9 n.9. In that same filing, you clarified that, as a result of attorneys general bringing suits
“concerning the same subject matter in state court pursuant to their respective state laws,” you
were not seeking to represent “those with claims in the States of Illinois, Oregon and
Washington.”2 Id. at 9-10. Nothing has changed since that time that would justify you now
seeking to pursue Oregon claims; to the contrary, Oregon residents’ claims have since been settled
and finally released.

       We hope that providing this information about the status of the Panasonic Defendants and
the Oregon Action now—in advance of the ORS Plaintiffs seeking to file any proposed amended
complaint—will facilitate the requisite “reasonable inquiry into the facts and the law before filing”
and prevent any needless litigation of these issues. Herships v. Maher, No. 97-cv-3114, 1998 WL
164943, at *2 (N.D. Cal. Mar. 10, 1998) (quoting Business Guides Inc. v. Chromatic
Communications Enter., 498 U.S. 533, 551 (1991) (emphasis in original).



2
  This letter focuses on Oregon claims because you have asserted that Oregon is one of the “omitted
repealer states.” However, should the ORS Plaintiffs assert Illinois or Washington claims, those claims
would similarly be improper for a variety of reasons including that they have been settled and released by
state attorneys general.
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        Should you have any questions, we are happy to discuss and to provide more information
to the extent available to us.


                                           Sincerely,

                                           /s/ Jeffrey L. Kessler

                                           Jeffrey L. Kessler


Attachments
cc:   Theresa Moore, Esq., Co-Lead Counsel for ORS Plaintiffs
      Robert Bonsignore, Esq., Co-Lead Counsel for ORS Plaintiffs
      David L. Yohai, Esq.
      Eva W. Cole, Esq.
      Kevin B. Goldstein, Esq.
Case 4:07-cv-05944-JST Document 6126-3 Filed 12/22/22 Page 55 of 71




                  EXHIBIT A
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        EXHIBIT A-1
     Unofficial Translation
        Case 4:07-cv-05944-JST Document 6126-3 Filed 12/22/22 Page 58 of 71



  2019 (H. 31) No. 3004 Case of Petitioning for the Commencement of Special Liquidation

  Incorporated company in liquidation     MT Picture Display Corporation



Application for Certificate of Final and Binding Conclusion of Special Liquidation


   To Civil Division No. 6 [unconfirmed], Osaka District Court



                                                              May 9th, 2019 (First year of Reiwa)


             Incorporated company in liquidation          MT Picture Display Corporation
                                                                                              [Seal]
                              Agent of liquidator             Attorney Takayuki Shibano       Attorney
                                                                                              Takayuki
                                                                                              Shibano

                                                                                              [Seal]
                                                 Same [as above]           Katsuhisa Yanagi   Attorney
                                                                                              Katsuhisa
                                                                                              Yanagi
                                [[Seal]
Please certify that the decision made on April 18th, 2019 regarding the special
liquidation of the above incorporated [handwritten text inserted] company in liquidation was
final and binding as of May 22nd, 2019 (the first year of Reiwa).




  [I] hearby certify the above.
                              May 23rd, 2019
    Civil Division No. 6 [unconfirmed], Osaka District Court
                                                                   [Seal]
                                Court clerk Hisami Taniya          [illegible]
                                              [unconfirmed]
Case 4:07-cv-05944-JST Document 6126-3 Filed 12/22/22 Page 59 of 71




                  EXHIBIT B
                                     120810246
         Case 4:07-cv-05944-JST Document 6126-3 Filed 12/22/22 Page 60 of 71




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     a
     J

                           IN THE CIRCUIT COURT OF THE STATE OF OREGON
 4
                                       FOR THE COI.INTY OF MULTNOMAH
 5

         STATE OF OREGON, ex rel. Ellen
 6
         Rosenblum, Attorney General,                      Case   No.: 120810246
 7
                           Plaintifl
                                                               GENERAL JUDGMENT
 8
                           V

 9
         SAMSLING DISPLAY DEVICE CO., LTD.,
         a foreign corporation; SAMSTING SDI
l0       AMERICA INC., a California corporation;
         SAMSLING SDI MEXICO S,A. DE C.V., A
11
         foreign corporation; SAMSUNG SDI
         BRASIL LTDA., a foreign corporation;
12
         SHENZHEN SAMSL]NG SDI CO., LTD., A
         foreign corporation; TIANJIN SAMSUNG
13
         SDI CO., LTD., a foreign corporation;
         SAMSUNG SDI (MALAYSIA) SDN. BHD.,
t4       a foreign corporation;

t5
                                  Defendants

16
                In previous orders, this Court has approved the Oregon Attorney General's

t7       settlements ("Agreements") with the following defendants ("Defendants"), dismissing

r8
         each of the defendants with prejudice: Hitachi, Ltd.; Hitachi Displays, Ltd.; Hitachi

t9       Electronic Devices (USA), Inc.; Hitachi Asia, Ltd; LG Electronics, Inc; Panasonic

20
         Corporation; Panasonic Corporation of North America; MT Picture Display Co., Ltd;

2t       Koninklijke Philips Electronics N.V.; Philips North America Corporation; Toshiba
22
         Corporation; Toshiba America Electronic Components, Inc.; Samsung SDI Co., Ltd.;

23


         PAGE    1   -   GENERAL JUDGMENT                                         Haglund Kelley LLP
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                                                                                  Portland, OR 97201
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                                                                             (503) 225-0777 /
                                                                                    49486-7:38 am
          Case 4:07-cv-05944-JST Document 6126-3 Filed 12/22/22 Page 61 of 71




      1    samsung SDI America, Inc.; Samsung sDI Mexico S.A. de          c.v.;      Samsung SDI Brasil

      2   LTDA.; Shenzhen Samsung SDI Co., Ltd.; Tianjin Samsung sDI co., Ltd; samsung sDI

      a   (Malaysia) Sdn. Bhd.
      J


      4           This matter comes before the Court to determine if there is any cause why the

      5   Court should not approve Attorney General's proposal for distribution to the State of

  6       Oregon and natural persons and entry ofjudgment. The Court, after considering all

  7       papers filed and proceedings held in this action and otherwise being         fully informed in the

  I       premises, finds the Attorney General's distribution plan allows all claimants and

  9       prospective claimants a reasonable opportunity to secure an appropriate portion                 of

 10       available settlement proceeds. Accordingly, the Court directs entry of this judgment,

 11       which shall constitute the final adjudication of this action on the merits. Good cause

 12       appearing therefore, it is:

13                ORDERED, ADJUDGED, AND DECREED THAT:

t4                l.      The capitalized terms used in this order have the meaning ascribed to them

15        in the Agreements.

t6                2.      The Court has jurisdiction over the subject matter of this litigation, all

t7        actions within this litigation and over the Parties to the Agreements, including the State

18        of Oregon and the Defendants, and any person or entity claiming by, for, or through the

T9        State of Oregon and the Defendants,

20                3.     The State of Oregon's Notice of Exclusions, previously approved by the

2T        Court, required natural persons desiring to opt-out of this action (also referred to as

22        "exclusion") and the Agreements to register online at www.OregonScreenSettlement.com

¿-)


          PAGE 2 _ GENERAL JUDGMENT                                                   Haglund Kelley LLP
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                                                                                        49486-7:38 am
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or send a written letter requesting exclusion to a designated address on or before March

 18,2017. Natural persons who did not take action or who registered or provided letters

postmarked after March 18,2017 , are bound by this judgment and the Agreements

previously approved in this action. Attachment A to this order provides the names and

addresses of natural person opt-outs who registered at

www.OregonScreen$ettlement.com on or before March 18,2017, and names and

addresses of natural person requesting exclusion who sent letters postmarked on or before

March 78,2017, that had been received as of close of business on April 19, 2017. Any

other letters later received requesting exclusion and which were postmarked on or before

March 18,2077, must be forwarded to the Court with         a request    for supplemental

judgment.

          4.       The Court hereby dismisses on the merits with prejudice any remaining

claims    -   including natural person parens patriae claims and direct claims        -    asserted by

the Attorney General against Defendants in this action, with the Oregon Attomey General

and Defendants to bear their own costs and attomeys' fees except as provided for in the

Agreements and previously determined by this Court. The dismissal with prejudice is not

res   judicata as to the one natural person identified in Attachment A to this order or as to

any other natural persons identified in a supplemental judgment meeting the criteria

defined in paragraph 3 above. To the extent natural persons identified in Attachment A

or a supplemental judgment possess the right to assert claims against Defendants, those

claims are not extinguished by entry of this judgment.




PAGE 3 _ GENERAL JUDGMENT                                                    Haglund Kelley LLP
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                                                                               49486-7:38 am
     Case 4:07-cv-05944-JST Document 6126-3 Filed 12/22/22 Page 63 of 71




 I            5.      The State of Oregon releases all claims fhat arc agreed released by the

 2   terms of the six individual Agreements previously approved by the Court. See Exhibits

 J   A-E to Declaration of Michael G. Neff in Support of Oregon's Second Motion for

 4   Approval of Settlements, Notice, and Entry of Limited Judgment           as   to Five Defendant

 5   Groups and Exhibit A to Declaration of Michael E. Haglund in Support of Oregon's

 6   Motion for Approval of Samsung SDI Settlement. The Court finds that the State of

 1   Oregon shall be bound by each of the individual Agreements, including without

 8   limitation the release provisions and covenants not to sue therein.       Id. Generally, with the

 9   exception of the claims that may be held by the natural persons who opt-out as defined in

10   paragraph 4 above, Oregon releases all claims that were or could have been made against

11   the respective Defendants based on the facts described in the Oregon First Amended

t2   Complaint for Damages, Restitution, Disgorgement, and Civil Penalties. All persons and

13   entities defined as Releasors in the Agreements are hereby barred and enjoined from

t4   commencing, prosecuting, or continuing, either directly or indirectly, against the persons

15   or entities who are defined as Releasees, in this or any jurisdiction, any and all claims or

l6   causes   of action or lawsuits, which they had, have, or in the future may have, arising out,

t7   or related in any way to the claims released by the individual Agreements. This

18   permanent bar and injunction is necessary to protect and effectuate the Agreements, this

t9   judgment, and this Court's authority to effectuate the Agreements, and is ordered in aid

20   of this Court's jurisdiction and to protect its jurisdiction.

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      PAGE 4 _ GENERAL JUDGMENT                                                    Haglund Kelley LLP
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         Case 4:07-cv-05944-JST Document 6126-3 Filed 12/22/22 Page 64 of 71




     I           6.     The Court finds that the notice given to natural persons of the Agreements

 2       and releases in the Agreements was adequate, due, and sufficient notice that more than

 J       satisfies due process of law and ORS 646.775(2) and (3).

 4               7.     The Court grants final approval to the plan of distribution set forth and

 5       described in the State of Oregon's Motion for Approval of Distribution Plan and Final

 6       Judgment, and hnds the plan of distribution is designed to provide natural persons a

 7       reasonable opportunity to secure an appropriate portion of the available settlement

 I       proceeds. The Court approves this plan of distribution as being consistent with due

 9       process of law and ORS 646.775-780.

10               8.     The Attorney General in her discretion is authorized to distribute the

11       Settlement Fund to state agencies and natural persons consistent with the plan         of

I2       distribution described in the State of Oregon's Motion for Approval of Distribution Plan

13       and Final Judgment. The fiduciary managing the escrow account holding the Settlement

t4       Fund is directed to make all distributions directed by the Oregon Attorney General to the

15       Oregon Department of Justice Trust Account or such other account as may be identified

16       by the Attorney General.

17              9.      V/ithout affecting the finality of this judgment in any way, this Court

l8       hereby retains exclusive jurisdiction over the State of Oregon, Defendants, all other

19       parties, and Releasors identified in the Agreements for the purpose of enforcing and

20       administering this judgment and the previous orders and limited judgments of this Court.

2l              10.     The Court hnds that judgment should be entered and further finds that

22       there is no just reason for delay in entry ofjudgment. Accordingly, the Clerk is hereby

23


         PAGE 5 _ GENERAL JUDGMENT                                                Haglund Kelley LLP
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                                                                                    49486-738 am
Case 4:07-cv-05944-JST Document 6126-3 Filed 12/22/22 Page 65 of 71




directed to enter judgment forthwith. No costs are awarded except as otherwise

specifically provided in the Agreements, this judgment, or previous order of the Court



       IT IS SO ORDERED AND ADJUDGED., nunc pro tunc March 24, 2017.




                                                      Signed: 4/27/2017 10:13 AM




Submitted by:


s/ Michael G. Neff
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Michael K. Kelley, OSB No. 853782
KellevfÐhk'law.com
Michael G. Neff, OSB No. 925360
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Oregon Special Assistant Attorneys General for Plaintiff




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                                                                             49486-7:38 am
         Case 4:07-cv-05944-JST Document 6126-3 Filed 12/22/22 Page 66 of 71




                              CERTIFICATE OF COMPLIANCE WITH UTCR 5.100

     2   This submission is ready for judicial signature because:

     a
     J              tr L Each opposing party affected by this order or judgment has stipulated to
         the order or judgment, as shown by each opposing party's signature on the document
 4       being submitted.

 5                  4 2.
                       Each opposing party affected by this order or judgment has approved the
         order or judgment, as shown by signature on the document being submitted or by written
 6       confirmation of approval sent to me.

 7                  x3.       I have served a copy of this order or judgment on all parties entitled to
         service and:
 8

                              X a. No objection has been served on me.
 9
                              I b. I received objections that I could not resolve with the opposing
         party despite reasonable efforts to do so. I have filed a copy of the objections I received
10
         and indicated which objections remain unresolved.

ll                       n c. After conferring about objections (opposing party) agreed to
         independently file any remaining objection.
12
                    a 4.      The relief sought is against an opposing party who has been found in
13       default.

t4                  n 5.      An order of default is being requested with this proposed judgment.

t5                  tr   6.
                         Service is not required pursuant to subsection (3) of this rule, or by statute,
         rule or otherwise.
t6
                    a 7.This is a proposed judgment that includes an award of punitive damages
17       and notice has been served on the Director of the Crime Victims Assistance Section as
         required by subsection (4) of this rule.
18


t9
                                                            s/ Michael G. Neff
20                                                          Michael G. Neff, OSB No. 925360

2t

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                                                                                          49486-7j8      am
     Case 4:07-cv-05944-JST Document 6126-3 Filed 12/22/22 Page 67 of 71




 I                                      CERTIFICATE OF SERVICE

 2        I hereby certify that on the 26th day of Apr il, 2017       ,I   served the foregoing
      GENERAL JUDGMENT, on the following:
 3
     STOEL RIVES LLP
 4
     TIMOTHY W. SNIDER                                 _By hand delivery
     900 SW Fifth Avenue, Suite 2600                   _By first-class mail*
     Portland, Oregon97204                             X By email
 5   Email: twsnider@stoel,com                         _By overnight mail
     Telephone : (5 03) 224-3 3 80                     _By facsimile
 6   Facsimile: (503) 220-2480                             Fax #

     WEIL, GOTSHAL & MANGES LLP
 7   DAVID L, YOHAI                                    _By hand delivery
     ADAM C. HEMLOCK                                   _By first-class mail*
 8   DAVID YOLKUT                                      X   By email
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 9
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     DAVID H. ANGELI                                   _By first-class mail*
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    Case 4:07-cv-05944-JST Document 6126-3 Filed 12/22/22 Page 68 of 71




                                 ATTACHMENT A

               Natural Persons Who Timely Provided Notice of Exclusion
                         From the Approved CRT Settlements




I    Mary Steiger
     3208 NE 29th
     Gresham, OR 97030
          Case 4:07-cv-05944-JST Document 6126-3 Filed 12/22/22 Page 69 of 71




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          Electrcnic Devices (USA), Inc,
  8
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16

          Attorneys     for Phìlips Electronìcs North America
t7        Corp. (PENAC)

18


t9

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18   and LG Eleclronics, A.S.A.


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SDI Mexico S,A. de C.V.; Samsung SDI Brøsil
Llda.; Shenzhen Samsung SDI Co., Ltd,;
Tiønjìn Samsung SDI Co., Lld.; ønd Samsung
SDI (Mølaysiø) Sdn. Bhd.




tv/ith   first-class postage prepaid and deposited in Portland, Oregon.


                                           s/Michael G. Neff
                                           Michael E. Haglund, OSB No. 772030
                                           Michael K. Kelley, OSB 853782
                                           Michael G. Neff, OSB 925360
                                           Attorneys for Plaintiff




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